                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


FRANK CARBONE, ANDREW CORZO, SAVAN-
NAH ROSE EKLUND, SIA HENRY, ALEXANDER
LEO-GUERRA, MICHAEL MAERLENDER, BRAN-
DON PIYEVSKY, KARA SAFFRIN, and BRITTANY
TATIANA WEAVER, individually and on behalf of all   Case No. 1:22-cv-00125
others similarly situated,

                                Plaintiffs,
                                                    Hon. Matthew F. Kennelly
                          v.                        Magistrate Gabriel A. Fuentes

BROWN UNIVERSITY, CALIFORNIA INSTITUTE
OF TECHNOLOGY, UNIVERSITY OF CHICAGO,
THE TRUSTEES OF COLUMBIA UNIVERSITY IN   JURY TRIAL DEMANDED
THE CITY OF NEW YORK, CORNELL UNIVER-
SITY, TRUSTEES OF DARTMOUTH COLLEGE,
DUKE UNIVERSITY, EMORY UNIVERSITY,
GEORGETOWN UNIVERSITY, THE JOHNS HOP-
KINS UNIVERSITY, MASSACHUSETTS INSTITUTE
OF TECHNOLOGY, NORTHWESTERN UNIVER-
SITY, UNIVERSITY OF NOTRE DAME DU LAC,
THE TRUSTEES OF THE UNIVERSITY OF PENN-
SYLVANIA, WILLIAM MARSH RICE UNIVERSITY,
VANDERBILT UNIVERSITY, and YALE UNIVER-
SITY,


                          Defendants.



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                                                                     xiv
                                        INTRODUCTION

       Plaintiffs bring suit on behalf of a proposed class of the more than 200,000 people (the

“Class”) who since 2003 have been victims of Defendants’ horizontal agreement to fix the “net

price” of attending their academic institutions—tuition, room, and board, less institutional grant

aid. Defendants did so by, among other acts, agreeing that students should pay the maximum

amount the conspirators decide their families can afford to pay, and by agreeing on a common

formula, the “Consensus Methodology” (“CM”), to determine the family’s contribution. Defend-

ants took these steps through their participation in what they call the Presidents 568 Group (the

“Cartel”). Plaintiffs allege, in their Amended Complaint (“AC”), that this conspiracy has caused

the members of the Class to pay “artificially inflated net prices of attendance.” AC ¶ 235.

       Defendants move to dismiss based on arguments that are: premature; ignore the plain lan-

guage of the statutory exemption they invoke as an affirmative defense; misconstrue the control-

ling precedent; and assume it should have been clear to Class members since 2003 that Defendants

have been artificially inflating net prices—which Defendants simultaneously insist they have not

been inflating. Defendants also rely heavily, and improperly on a motion to dismiss, on a Govern-

ment Accounting Office (“GAO”) report published sixteen years ago (the “2006 GAO Rpt.”)—

which included only one year of use of the CM and disclaims serving the very purpose for which

Defendants cite it. Defendants’ motions fail for the following reasons:

       First, Defendants’ reliance on Section 568 of the Improving America’s Schools Act of

1994, 15 U.S.C. § 1 note 1 (the “Exemption”), is no basis for dismissal. Not only is a statutory

antitrust exemption an affirmative defense, making it ill-suited for resolution on the pleadings, but

such exemptions are to be read narrowly. The Exemption applies to an agreement between “2 or

more institutions of higher education” that admit “all” students “on a need-blind basis,” which the

statute defines as “without regard to the financial circumstances of the student involved or the
student’s family.” By its plain and unambiguous terms, the Exemption would thus apply to any

Cartel member only if (a) all of them (b) admitted all their students “without regard to the financial

circumstances” of the student or family. That is, the Exemption does not protect an institution that

does admit all students on a need-blind basis if it conspires with an institution that does not admit

all students on a need-blind basis. Plaintiffs plausibly allege that Defendants have not satisfied

these conditions.

       Defendants’ main argument, in defending their practices of favoring the wealthy in admis-

sions, is that the Exemption applies unless they (a) disfavor financial-aid applicants by (b) looking

to their aid applications or using their financial circumstances as a proxy for their need for aid. As

threshold matters, Defendants’ motion fails even under their misinterpretation: with a finite num-

ber of seats for undergraduates, any admissions practice that awards spots to the wealthy logically

does disfavor those applying for aid; and for their waitlisted and transfer applicants, Defendants

specifically disfavor financial-aid applicants. Defendants’ misinterpretation is baseless: they ig-

nore the unambiguous definition of “need-blind” that Congress included in the statute, improperly

relying on a supposed “ordinary meaning” of “need-blind” that the statutory definition makes moot

(and that is not the phrase’s ordinary meaning). In addition, Defendants’ misinterpretation would

allow them to collude on financial aid even if each of them filled nearly all of their slots with

wealthy applicants. This is the type of absurd result that the plain-language interpretation of the

Exemption does not create.

       Second, Defendants set forth no basis for resolving on the pleadings whether their Cartel

is illegal under the Sherman Act. The Cartel is a classic per se violation that does not fall into any

of the narrow exceptions the courts have created. At a minimum, Plaintiffs’ allegations implicate




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industry and marketplace-related facts that, as the federal courts have cautioned, require fact dis-

covery before resolving whether the per se rule applies. The same is true of Defendants’ argument

that, contrary to their own admissions, they do not compete in the same market or possess market

power. More fundamentally, Plaintiffs have plausibly alleged direct proof of the Cartel’s anticom-

petitive impact, making any precise market definition unnecessary.

       Defendants similarly assert no basis for dismissing the alternative claim that the Cartel is

illegal under Quick Look or Rule of Reason analysis. Defendants merely assert (at 28) that the

Cartel “makes higher education more accessible” and increases aid for some while “theoretically”

reducing it for others. This speculative argument purports to balance anticompetitive effects (such

as less aid for those in need) against supposed societal benefits, reducing to the proposition that

“competition is bad,” an argument the Supreme Court has rejected. NCAA v. Alston, 141 S. Ct.

2141, 2159 (2021); Nat’l Soc’y of Prof’l Eng’rs v. United States, 435 U.S. 679, 695 (1978). In

relying on United States v. Brown University, 5 F.3d 658 (3d Cir. 1993), for the proposition that a

horizontal agreement like the Cartel theoretically “can” increase financial aid, Defendants invoke

an analysis based on a different set of facts and assumptions made thirty years ago and never tested,

because Brown settled before the district court could address the issues on remand.

       Defendants’ argument also ignores the Supreme Court’s recent admonition to account for

changed “market realities” in analyzing the Sherman Act, Alston, 141 S. Ct. at 2158, and Plaintiffs’

allegations of such changes here. Since Brown was decided, for example, Defendants’ endowments

have skyrocketed by more than 1000 percent, to more than $233 billion in 2021. With such re-

sources, if Defendants had not colluded, they would have awarded more scholarship aid and thus

reduced the net price of attendance for all financial aid students, AC ¶ 257, as universities such as




                                                 3
Yale and Harvard have effectively admitted. Id. ¶¶ 123-25. Contrary to Defendants’ implicit as-

sumption that each university can award only a fixed amount of financial aid, true competition on

aid would drive Defendants to spend more on it. Plaintiffs show how, with modestly increased aid

spending from their unrestricted endowments, and while still growing them, 9 of the 17 Defendants

could make attending their universities free for students currently on financial aid, while reducing

the net price by an average of almost $12,000 annually at the other 8 schools.

       Third, the Defendants who contend they quit the conspiracy (Brown, Chicago, Emory)

(“BCE”) or joined after the other conspirators’ misconduct (JHU) have the law wrong. In order to

withdraw, a defendant must take affirmative acts to disavow the conspiracy and its goals. Plaintiffs

do not allege that BCE did so, and BCE cannot prove on the pleadings that they did. JHU’s argu-

ment is contrary to well-established law that one who joins an existing conspiracy becomes as

liable for it as the originators of the conspiracy, including for actions taken before joining. And

Yale’s assertion that it has not used the CM for the past four years, even though it is in the Cartel,

is contradicted by Plaintiffs’ plausible allegations, including Yale’s own admission that the Cartel

has “one needs-analysis formula that everyone has to sign onto.” Id. ¶ 124 (emphasis added).

       Fourth, Defendants set forth no basis for dismissing any claims as untimely. In addition to

the statute of limitations being an affirmative defense, under the “discovery rule” that applies in

this Circuit, whether a reasonably diligent person knew or should have known she had been injured

is a fact-intensive question inappropriate for resolution on a motion to dismiss. A reasonably dili-

gent person would have not known the Cartel was causing artificially inflated net prices for stu-

dents receiving financial aid. Indeed, the outdated 2006 GAO Report, which Defendants repeat-

edly cite (and includes only one year of CM use, flawed methodologies, and data from only 6 of

the 17 Defendants), concluded that the Cartel did not increase net prices. Plaintiffs have adequately




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pled that a reasonably diligent plaintiff would not have discovered injury from the Cartel until two

years before the Complaint was filed, because it required uncovering, assembling, and combining

the full array and effects of Defendants’ unlawful conduct.

                                      LEGAL STANDARDS

       The plaintiff must allege sufficient facts “to ‘state a claim to relief that is plausible on its

face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007)). The allegations need only “raise a right to relief above the speculative level.”

Twombly, 550 U.S. at 555. “An otherwise ‘well pleaded complaint may proceed even if it strikes

a savvy judge that actual proof of those facts is improbable, and that recovery is very remote and

unlikely.’” In re Text Messaging Antitrust Litig., 2010 WL 1782006, at *4 (N.D. Ill. Apr. 30,

2010) (Kennelly, J.) (quotations omitted), aff’d, 630 F.3d 622 (7th Cir. 2011) (Posner, J.) (price-

fixing allegations established “a nonnegligible probability that the claim is valid”). “A claim has

facial plausibility when the plaintiff pleads factual content that allows the court to draw the rea-

sonable inference that the defendant is liable for the misconduct alleged.” Hunter v. WPD Mgmt.

LLC, 476 F. Supp. 3d 731, 734 (N.D. Ill. 2020) (Kennelly, J.) (quotations omitted).

       In considering a plaintiff’s allegations, the Court “takes them as true and evaluates their

sufficiency to sustain plaintiffs’ claim.” Text Messaging, 2010 WL 1782006, at *3. The materials

Defendants cite, as shown below, do not fall into the narrow category of “matters of public rec-

ord” whose accuracy “reasonably cannot be questioned.” Brown v. Weltman, Weinberg & Reis

Co., L.P.A., 2021 WL 3910748, at *2 (N.D. Ill. Sept. 1, 2021). Courts will not take judicial notice

of a public document, such as the 2006 GAO Report, where “references to these documents [are]

intended to disprove facts which are properly pled in the Complaint” or where the facts involved

are “subject to reasonable dispute.” Munguia v. Illinois, 2010 WL 3172740, at *4-5 (N.D. Ill.

Aug. 11, 2010). In opposing a motion to dismiss, in contrast, the plaintiff may cite evidence


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outside of but consistent with the complaint. See Brown v. Cook Cnty., 2018 WL 3122174, at *12

n.6 (N.D. Ill. June 26, 2018) (Kennelly, J.); Healey v. Int’l Bhd. of Elec. Workers, Loc. Union No.

134, 2012 WL 3835094, at *3 (N.D. Ill. Sept. 4, 2012) (Kennelly, J.).

       A plaintiff is “not required to plead elements in his or her complaint that overcome af-

firmative defenses, such as statute-of-limitations defenses.” NewSpin Sports, LLC v. Arrow El-

ecs., Inc., 910 F.3d 293, 299 (7th Cir. 2018). Affirmative defenses “typically turn on facts not

before the court at that stage in the proceedings,” Brownmark Films, LLC v. Comedy Partners,

682 F.3d 687, 690 (7th Cir. 2012), and generally should be litigated later in the proceedings, City

of Rockford v. Mallinckrodt ARD, Inc., 360 F. Supp. 3d 730, 747 (N.D. Ill. 2019). Dismissal on

affirmative defenses “is appropriate only when the factual allegations in the complaint unambig-

uously establish all the elements of the defense.” Hyson USA, Inc. v. Hyson 2U, Ltd., 821 F.3d

935, 939 (7th Cir. 2016) (emphasis in original).

                                          ARGUMENT

I.     PLAINTIFFS PLAUSIBLY ALLEGE INJURY FROM DEFENDANTS’ AGREE-
       MENT AND CONSPIRACY IN RESTRAINT OF TRADE

       A.      Plaintiffs Plausibly Allege an Agreement in Restraint of Trade

       Defendants are horizontal competitors that agreed to develop, use, and enforce a common

formula or common principles, the CM, for calculating financial aid. AC ¶¶ 6, 115-18. Horizontal

price fixing is “perhaps the paradigm of an unreasonable restraint of trade.” Atl. Richfield Co. v.

USA Petrol. Co., 495 U.S. 328, 344 (1990). In their own words, Defendants jointly agreed to

“‘ask the family to contribute the maximum that they are capable of, according to that formula.’”

Id. ¶ 129 (emphasis added). The CM “assesses the income and assets of given financial-aid ap-

plicants and their families to determine the applicants’ ability to pay and thus the financial con-

tribution that the applicant and their family is expected to make.” Id. ¶ 117. “The applicants’



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assessed ability to pay therefore is a key determinant in the net price of attendance.” Id. ¶ 118.

Defendants thereby determine, through the CM, the net price of attendance. Id. ¶¶ 6, 115-18.1

        Defendants’ conspiratorial acts are wide-ranging. “Defendants have met—and continue

to meet—to devise, agree upon, and collectively implement” the CM. AC ¶ 6. They have agreed

on a “data exchange program” to “share information about admissions and financial aid method-

ology.” Id. ¶ 117. The Cartel “uses the shared, competitively sensitive information about enroll-

ment, costs, and other data relating to Defendants’ available resources for financial aid to arrive

at a common and agreed formula for setting ability to pay.” Id. Defendants “monitor[] and en-

force[]” their conspiracy by “requiring each participating institution to submit a “‘Certificate of

Compliance’” with the Exemption, “requiring university professionals at each institution to re-

ceive “training . . . in the application of the Methodology [CM],” and “imposing a ‘common

calendar for the collection of data from families.’” Id. ¶ 121.

        Defendants’ assertion (at 25) that the CM is “not binding” on Cartel members merely dis-

putes Plaintiffs’ allegations,2 and is refuted by the Yale and Harvard admissions that the Cartel

required them to limit financial aid to students. In addition, it has long been true that “acquiescence

in an illegal scheme is as much a violation of the Sherman Act as the creation and promotion of

one.” United States v. Paramount Pictures, 334 U.S. 131, 161 (1948); see Moehrl v. Nat’l Ass’n



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  That is, financial aid is a discount off the sticker price, and agreements as to discounts are as much a
form of price-fixing as are agreements on the price itself. See e.g., Catalano, Inc. v. Target Sales, Inc.,
446 U.S. 643, 648 (1980) (agreements not to offer discounts and to standardize credit terms constitutes a
per se violation of the Sherman Act, as those terms are “inseparable” from the price); Freeman v. San
Diego Ass’n of Realtors, 322 F.3d 1133, 1146 (9th Cir. 2003). A key holding in the Overlap Group case,
United States v. Brown University, 5 F.3d 658 (3d Cir. 1993), discussed further below, was that the pro-
vision of financial aid is in effect a discount in a commercial transaction. Id. at 666-68.
2
  The argument also cries out for discovery. Defendants do not say whether “not binding” means that,
contrary to Yale’s admission, AC ¶ 124, Cartel members do not have to use the CM; or they must use the
formula, as Yale admitted, but can then somehow choose to tweak the results of the formula; or they must
use the formula elements but can add other formulaic elements.


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of Realtors, 492 F. Supp. 3d 768, 780 (N.D. Ill. 2020) (collecting cases). Deviations from an agree-

ment, or the absence of discrete agreement on each step of implementing it, do not preclude liabil-

ity under Section 1.3 With respect to one group’s use of uniform lease terms and recommended

price lists, for example, one court sensibly concluded it was “unable to find that the list was circu-

lated for no purpose at all.” United States v. Nationwide Trailer Rental Sys., Inc., 156 F. Supp.

800, 804-05 (D. Kan. 1957), aff’d per curiam, 355 U.S. 10 (1957).

        Defendants are also wrong in arguing (at 8) that Plaintiffs would have to show an agree-

ment to fix financial-aid awards for specific students. Defendants agreed on a formula, which re-

sulted in the suppression of financial aid to all students (not merely specific students). AC ¶¶ 133,

237-39. It is illegal for competitors to agree to a common pricing formula. See United States v.

Socony-Vacuum Oil Co., 310 U.S. 150, 222, 224 n.59 (1940) (citing the critical role of the “formula

underlying price policies”).4 If some competition (at a depressed level) continued despite the Car-

tel, the alleged misconduct would still be illegal because agreements in restraint of trade need not

“‘be aimed at complete elimination of price competition.’” FTC v. Superior Ct. Trial Lawyers

Ass’n, 493 U.S. 411, 435, (1990) (quoting Socony-Vacuum, 310 U.S. at 224 n.59, 225-26). Plain-

tiffs allege more than enough facts, in this “complex” antitrust case, to “plausibly suggest” that

each Defendant joined the Cartel. In re Cathode Ray Tube (CRT) Antitrust Litig., 738 F. Supp. 2d

1011, 1019 (N.D. Cal. 2010); see also Diisocyanates, 2020 WL 1140244, at *2.




3
  See Palmer v. BRG of Ga., Inc., 498 U.S. 46, 48 (1990); United States v. Capitol Serv., Inc., 756 F.2d 502,
506 (7th Cir. 1985); see also In re Diisocyanates Antitrust Litig., 2020 WL 1140244, at *2 (W.D. Pa. Mar.
9, 2020) (“Antitrust plaintiffs are not required to state in specific detail each defendant’s involvement in
the alleged conspiracy.”).
4
 Accord Gelboim v. Bank of Am. Corp., 823 F.3d 759, 774 (2d Cir. 2018); L.J. Zucca, Inc. v. Allen Bros.
Wholesale Distribs., Inc., 2008 WL 2937253, at *2 (D. Del. July 29, 2008); In re Mercedes-Benz Anti-Trust
Litig., 157 F. Supp. 2d 355, 360 (D.N.J. 2001).


                                                     8
       B.      Plaintiffs Plausibly Allege Antitrust Injury and Standing

               1.      Plaintiffs Plausibly Plead “Antitrust Injury”

       Plaintiffs plausibly make “factual allegations suggesting that the claimed injuries are of the

type the antitrust laws were intended to prevent and reflect the anticompetitive effect of either the

violation or of anticompetitive acts made possible by the violation.” Tamburo v. Dworkin, 601

F.3d 693, 699 (7th Cir. 2010) (quotations omitted). Specifically, “the Sherman Act is designed to

protect consumers from injury that results from diminished competition, and therefore a claim

brought under the Act must allege both injury to [the plaintiff] and to the market.” Always Towing

& Recovery, Inc. v. City of Milwaukee, 2 F.4th 695, 703 (7th Cir. 2021) (cleaned up). Plaintiffs

plausibly allege such injuries. Defendants’ conspiracy has “depriv[ed] Plaintiffs and the other

Class Members of a competitive marketplace,” AC ¶ 234; “Plaintiffs and the other Class Members

were injured in the form of receiving artificially suppressed financial aid and paying artificially

inflated net prices of attendance,” id. ¶ 235; and students paid “more for attendance at Defendants

than they would have paid and will pay but for the combination and conspiracy,” id. ¶ 266.

       The precedent Defendants cite (at 35) regarding antitrust injury is inapposite. Defendants

argue that Greater Rockford Energy & Tech. Corp. v. Shell Oil Co., 998 F.2d 391, 395 (7th Cir.

1993), requires a showing of “but for” causation, which Plaintiffs allege: the Cartel has caused net

prices to be “artificially” high. AC ¶¶ 1, 6, 14, 118, 130, 132, 193-94, 235-38, 255-60. Rockford,

which was decided on summary judgment, shows that the Court may consider any arguments on

“but for” causation at that point. In In re Humira (Adalimumab) Antitrust Litig., 465 F. Supp. 3d

811 (N.D. Ill. 2020), the plaintiffs alleged that, but for defendant’s violation, certain alternative

facts could have occurred, which the court concluded “falls short of plausible.” Id. at 844. But

there is nothing unusual about alleging, as Plaintiffs have done here, that in the absence of collu-




                                                 9
sion, the Defendant universities would compete for students, and that that competition would pro-

duce better results for consumers. AC ¶¶ 237-38. These effects follow from bedrock antitrust prin-

ciples. See Socony-Vacuum, 310 U.S. at 221 (any horizontal price-fixing conspiracy “which tam-

pers with price structures is engaged in an unlawful activity” and is “directly interfering with the

free play of market forces”). The method by which Plaintiffs will calculate this damage will require

expert analysis; this issue is for class certification and trial, not a motion to dismiss.

        Yet Defendants contend (at 35) that “Plaintiffs have not plausibly alleged that they suffered

an antitrust injury on the ground that the effective prices they paid would be lower but for the

Consensus Methodology” because Plaintiffs do not cite an alternative methodology that would

have yielded lower net prices. Defendants here create a false choice between the CM and some

other methodology; no such choice is required. Indeed, any university with the means could choose

to compete for students on price—and Plaintiffs plausibly allege in the but-for world all Defend-

ants would have so competed, AC ¶ 237—by devising its own pricing policies. See Brown, 5 F.3d

at 679 (alluding to “the free market coupled with MIT’s institutional resolve”).

        Contrary to Defendants’ arguments (at 35), there is nothing speculative about Plaintiffs’

allegations regarding the injuries to them and the Class for years. The Cartel has injured them “in

the form of receiving artificially suppressed financial aid and paying artificially inflated net prices

of attendance.” Id. ¶ 235. Yale assertedly left the Cartel in 2008, for example, because if it re-

mained bound by the CM, it could not implement its then new financial aid policy, which was

“more generous.” Id. ¶¶ 123-24. Similarly, Harvard explained it “never joined the Cartel because

its [the Cartel’s] financial-aid formula would have yielded financial-aid packages that were smaller

than what Harvard wanted to award.” Id. ¶ 125. In addition, the Cartel uses phrasing, such as

“reduce much of the variance,” “consistent manner,” and “diminish or eliminate divergent results,”




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clearly evidencing the Cartel’s concerted effort to eliminate “competition over financial-aid offers”

to coalesce around a lower level of aid to all prospective students. Id. ¶ 127.

               2.      Plaintiffs Plausibly Demonstrate “Antitrust Standing”

       Defendants also argue (at 36) that “Plaintiffs fail to meet the distinct requirement of anti-

trust standing,” citing cases addressing “speculative” damages. See Loeb Indus., Inc. v. Sumitomo

Corp., 306 F.3d 469, 485 (7th Cir. 2002); Assoc. Gen. Contractors of Cal., Inc. v. Cal. State Coun-

cil of Carpenters, 459 U.S. 519, 543-44 (1983); Am. Ad. Mgmt., Inc. v. Gen. Tel. Co. of Cal., 190

F.3d 1051, 1054 (9th Cir. 1999). These cases discuss plaintiffs who did not purchase directly from

the conspirators and so were claiming injuries from “independent factors.” Gen. Contractors, 459

U.S. at 542; cf. Loeb, 306 F.3d at 485 (direct purchasers from price-fixing conspiracy have stand-

ing); Am. Ad. Mgmt., 190 F.3d at 1054 (holding the plaintiff had standing as a direct target of the

conspiracy). Plaintiffs here are direct purchasers, asserting direct injuries. AC ¶ 260.

II.    THE EXEMPTION IS NO BASIS FOR DISMISSING PLAINTIFFS’ CLAIMS

       Defendants’ claim that they are immune from antitrust scrutiny is wrong. The Exemption

allows “2 or more institutions of higher education at which all students admitted are admitted on

a need-blind basis, to agree or attempt to agree . . . to use common principles of analysis for

determining the need of such students.” 15 U.S.C. § 1 note 1 (emphasis added). The statute defines

“need-blind basis” to mean “without regard to the financial circumstances of the student involved

or the student’s family.” Id. (emphasis added).

       Defendants have pervasively failed to meet these preconditions, through wealth favoritism

for potential and past donors; enrollment management; need awareness for the waitlist and transfer

students; and at Columbia, a special “school” for a large percentage of the undergraduate student

body. AC ¶¶ 134, 138, 143-44, 173, 177, 183. Plaintiffs allege over some fifty paragraphs, id. ¶¶

134-84, that no Defendant satisfies the Exemption. These allegations easily satisfy Iqbal and


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Twombly, neither of which requires a plaintiff to plead that each conspirator undertook the exact

same conduct, or all of the ways in which any affirmative defenses will fail.

        Plaintiffs further show below that Defendants’ various arguments with respect to the inter-

pretation of the Exemption fail, in four main ways. First, invoking the Exemption is an affirmative

defense, which the Court cannot resolve on Defendants’ motion. Second, Defendants’ reading of

the Exemption’s need-blind requirement contradicts the statute’s plain and unambiguous language.

Third, even under Defendants’ misinterpretation of the “need-blind” definition—applying only to

students seeking or needing financial aid—Plaintiffs have alleged that none of the Defendants

meets this definition with respect to transfers and waitlisted students. Accordingly, none of the

Defendants, even under their own definition, admits “all students” on a need-blind basis, as the

Exemption requires. Fourth, all the several school-specific defenses are without merit.

        A.      As an Affirmative Defense, the Exemption Is No Basis for Dismissal

        Defendants cannot invoke the Exemption based on Plaintiffs’ allegations. “The burden of

proving justification or exemption under a special exception to the prohibitions of a statute gener-

ally rests on one who claims its benefits.” Meacham v. Knolls Atomic Power Lab., 554 U.S. 84,

91 (2008) (quotations omitted); accord Davis v. Ind. State Police, 541 F.3d 760, 764-65 (7th Cir.

2008) (reversing and remanding). A statutory exemption “is an affirmative defense to liability, not

something that a plaintiff must prove.” Illinois v. McGraw-Hill Cos., 2013 WL 1874279, at *5

(N.D. Ill. May 2, 2013) (Kennelly, J.). This is particularly clear where, as here, the statute explicitly

labels an exception an “exemption.” Ho v. Donovan, 569 F.3d 677, 682 (7th Cir. 2009).

        Under the antitrust laws, this framework has been applied in analogous circumstances, such

as with respect to the Capper-Volstead exemption, In re Fresh and Process Potatoes Antitrust

Litig., 834 F. Supp. 2d 1141, 1154 n.8 (D. Idaho 2011) (collecting authority); the McCarron-Fer-

guson Act, In re Delta Dental Antitrust Litig., 484 F. Supp. 3d 627, 643 n.5 (N.D. Ill. 2020); and


                                                   12
the Bank Merger Act, United States v. First City Nat’l Bank of Houston, 386 U.S. 361, 366 (1967).5

Such statutory exemptions are “not normally appropriate for a Rule 12(b)(6) motion.” Keith v.

Ferring Pharms., Inc., 2016 WL 5391224, at *11 (N.D. Ill. Sept. 27, 2016) (quotations and citation

omitted). This is not a case in which the plaintiffs’ complaint admits the elements of the affirmative

defense; Plaintiffs dispute them. Cf. Khan v. United States, 808 F.3d 1169, 1172 (7th Cir. 2015).

In addition, as shown below, Defendants misinterpret the Exemption.

        B.      Under Its Plain Meaning, the Exemption Does Not Apply to Defendants

        All statutory interpretation “begin[s] with the language of the statute . . . to determine

whether the language at issue has a plain and unambiguous meaning.” Barnhart v. Sigmon Coal

Co., 534 U.S. 438, 450 (2002). “When a statute includes an explicit definition, [the court] must

follow that definition, even if it varies from a term’s ordinary meaning.” Digital Realty Tr., Inc. v.

Somers, 138 S. Ct. 767, 776 (2018); see also Stenberg v. Carhart, 530 U.S. 914, 942 (2000). As

the Seventh Circuit has explained, “it is not our place to tinker with the unambiguous definition

provided by Congress.” Valero Energy Corp. v. United States, 569 F.3d 626, 632 (7th Cir. 2009).

        “Where a law is plain and unambiguous, whether it be expressed in general or limited

terms, the legislature should be intended to mean what they have plainly expressed, and conse-

quently no room is left for construction.” BedRoc Ltd., LLC v. United States, 541 U.S. 176, 187



5
  Defendants’ citation (at 9) to cases treating a labor antitrust exemption as an element of a claim does not
help them. First, as discussed, antitrust exemptions are defenses. Second, courts treated that labor exemp-
tion differently because it concerned a particular public policy against discouraging amicable resolution of
labor disputes, where “the accommodation between federal labor and antitrust policy is delicate.” Connell
Constr. Co. v. Plumbers & Steamfitters Loc. Union No. 100, 421 U.S. 616, 636 (1975). In addition, other
courts regard the labor exemption as an affirmative defense. See, e.g., Am. Steel Erectors, Inc. v. Loc. Union
No. 7, 536 F.3d 68, 75 (1st Cir. 2008). The other cases Defendants cite (at 22) are no more helpful. See
Boim v. Holy Land Found. for Relief & Dev., 549 F.3d 685, 692 (7th Cir. 2008) (en banc); Gordon v.
Softech Int’l, Inc., 726 F.3d 42, 50 (2d Cir. 2013). Neither case even addresses antitrust law. Boim addressed
whether the defendant committed an offense in the first place (support of terrorist organizations), rather
than whether an exemption applied. Gordon was an appeal from summary judgment.


                                                     13
n.8 (2004). Where “the statutory language is unambiguous,” the “inquiry ceases.” Barnhart, 534

U.S. at 450. Only if the statute’s plain language leads to an absurd result does the court resort to

legislative history. Id. at 459. Any such absurdity would have to be “so gross as to shock the

general moral or common sense.” Id. at 450.

       In addition, antitrust exemptions are to be narrowly construed—that is, against the defend-

ant. See Grp. Life & Health Ins. Co. v. Royal Drug Co., 440 U.S. 205, 231 (1979). “[A]ny exemp-

tions from the antitrust laws are to be construed narrowly, ‘with beady eyes and green eyeshades.’”

Greater Rockford, 998 F.2d at 399 (quoting Chicago Prof’l Sports Ltd. P’ship v. NBA, 961 F.2d

667, 672 (7th Cir. 1992)).

       Plaintiffs show below that Defendants commit the same two basic interpretative errors as

to each aspect of the Exemption’s plain and unambiguous language at issue here: they first ignore

the language that is in the statute, and then they propose to add language that is not in the statute.

Defendants thus repeatedly torture the statute to justify their unlawful behavior.

       First, as to “need-blind,” Defendants begin by ignoring the statutory definition, arguing

that the supposed “ordinary meaning” of “need-blind” controls. They are wrong about that mean-

ing, but more fundamentally, the definition’s language controls. Defendant then change the statu-

tory definition, which reads “financial circumstances,” into “financial need.” The statute does not

say this. Defendants then manufacture a short list of sources that admissions officers supposedly

could not view. The statute does not say this either. See Part II.B.1, below.

       Second, as to the meaning of “2 or more institutions” and “all students,” Defendants first

eliminate these words from the statute. Defendants manufacture a supposed requirement of actual

knowledge whereby one institution, among the “2 or more institutions,” can invoke the Exemption

unless it knew the other institutions were not need-blind. The statute contains no such language.




                                                 14
The term “all students” is unambiguous: If some Defendants are not admitting “all students” on a

need-blind basis, then none can claim the exemption. See Part II.B.2, below.

        Third, not content with having read the word “all” out of the statute once already, Defend-

ants eliminate waitlisted students from among the meaning of “all” students. The statute’s plain

and unambiguous language says otherwise. Defendants thus manufacture a supposed exception,

arguing in effect that the Court should transpose onto the Exemption a “waitlist” exception that

existed in a settlement agreement negotiated before the Exemption was enacted. The statute con-

tains no such exception. See Part II.B.3, below.

                1.      There Is No Ambiguity in the Statutory Definition and Meaning of
                        “Need-Blind”

        Defendants are trying to define a term using words other than the very definition Congress

provided. They argue (at 12) that “need-blind” is limited to “disfavoring applicants because they

need financial aid.” As a threshold matter, given a finite number of undergraduate seats at each

Defendant, the premise that favoring wealthy students does not necessarily involve disfavoring

less wealthy students is logically nonsensical: every student admitted with regard to wealth is one

fewer spot for a student in need. See, e.g., AC ¶¶ 164, 167, 190. Defendants’ motion thus fails

under their own misinterpretation of the statute.

        Defendants’ reading of the Exemption is also contrary to its plain meaning. Under the stat-

ute’s explicit definition of “need-blind,” which controls, “need-blind” means “without regard to

the financial circumstances of the student involved or the student’s family.” These are not peculiar

or ambiguous terms.6 A school is acting in a “need-blind” manner with respect to a student if and



6
  Defendants’ citation (at 10, 12, 13) to Bond v. United States, 572 U.S. 844 (2014), does not help them.
The Bond Court determined that a statutory definition was ambiguous, and created an absurd result, and
thus looked to the term’s “ordinary meaning” to resolve the ambiguity. Id. at 859-62. The Court stated



                                                    15
only if, in deciding whether to admit the student, the school does not give any attention or consid-

eration to the “financial circumstances” of the student or the student’s family.

        Ignoring this definition, Defendants (at 10-12) simply change the term “financial circum-

stances” to “financial need.” Defendants then argue (at 14), without any basis in the statute’s terms,

that “giving preferences to relatives of potential donors would be consistent with the statutory plain

meaning of ‘need-blind.’” Defendants argue as if Congress had required them to admit only “all

financial aid students” without regard to their financial circumstances—but Congress plainly did

not say that. Congress did not permit collaborating universities to admit students with regard to

their or their family’s favorable “financial circumstances.” Defendants’ reading cannot stand under

the rules of interpretation. “We will not interpret a statute in a manner that renders part of it irrel-

evant, particularly where, as here, the statute has an unambiguous meaning if we simply apply the

definition provided in the statute itself.” Papazoglou v. Holder, 725 F.3d 790, 794 (7th Cir. 2013).7



that “it is not unusual to consider the ordinary meaning of a defined term, particularly when there is dis-
sonance between that ordinary meaning and the reach of the definition.” Id. at 861 (emphasis added).
Where the plain language is unambiguous, as here, the “inquiry ceases,” and evaluation of a term’s ordi-
nary meaning is not appropriate. Barnhart, 534 U.S. at 439.
7
  Defendants are also wrong about the supposedly ordinary or common meaning of “need-blind.” Former
Yale president Kingman Brewster, for example, described Yale’s pre-Cartel “need-blind” policy as one in
which “the pocketbook was no longer relevant to admission”—“the privileged took pride in the feeling that
[they] had made it on the merits rather than on the basis of something ambiguously called ‘background.’”
Geoffrey Kabaservice, The Guardians: Kingman Brewster, His Circle, and the Rise of the Liberal Estab-
lishment 264 (2004) (emphasis added). Similarly, in Brown, the court described MIT’s “need-blind admis-
sions system” as one where admissions are “based entirely on merit, without consideration of an applicant’s
ability to pay tuition,” where “financial status is irrelevant.” 5 F.3d at 661-62 (emphasis added). And as
just one recent example among many, in January 2018, an industry commentator stated: “Elite universities
have increasingly adopted need-blind admissions, which is the practice of disregarding economic factors
when looking at prospective applicants,” thus excluding “giving preference to students with higher family
income even if they are less qualified.” Collin Hong, Need-Blind Admissions Advantages Wealthy Appli-
cants, VANDERBILT POLITICAL REVIEW (Jan. 1, 2018). Defendants are also wrong in arguing that the 2006
GAO Report uses their definition of “need-blind.” The report describes the Exemption as applying to
“schools that admit students without regard to ability to pay.” 2006 GAO Rpt. at 1. The assessment of a
student’s “ability to pay” includes the consideration of their monetary and pecuniary resources, regardless
of whether they seek financial aid. “Ability to pay” means wealth. So here again Defendants take the plain



                                                     16
        Defendants then manufacture (at 9) a short list of sources that admissions officers suppos-

edly cannot view, and the supposed state of mind that such officers must avoid, if their university

is claiming the Exemption: that the only materials such officers cannot review are “financial aid

applications or by using ‘the financial circumstances of the student involved or the student’s fam-

ily’ as a proxy for whether the student will need financial aid.” These supposed categories of doc-

uments, and this supposed actual-knowledge requirement, are not found anywhere in any statutory

text. Defendants’ phrasing is entirely their own creation.

        The statutory definition of “need-blind” does not lead to any “absurd” result. Defendants

argue otherwise (at 13) on the premise that, under the Exemption’s plain language, they cannot

recognize “the comparative strength of applicants who overcome less privileged backgrounds to

achieve academic success.” Defendants here overlook that Congress has used the same “without

regard to” language for decades in anti-discrimination laws and policies. These statutes require

that decisions be made “without regard to” factors of race, ethnicity, sex, and other classifications.

Courts have allowed consideration of those factors to effectuate statutory protection of a disad-

vantaged group (here, lower-income students), but found it impermissible to use that classification

to favor an advantaged group (here, wealthy students).8 In line with these well-established usages,




language and give it their own meaning—they want “without regard to ability to pay” to mean “without
regard to inability to pay.” The report did not say that.
8
  Compare, e.g., United Steelworkers of Am., AFL-CIO-CLC v. Weber, 443 U.S. 193, 208 (1979) (finding
Title VII’s prohibition against racial discrimination, which requires employment decisions to be made
“without regard to race, color, religion, sex, sexual orientation, gender identity, or national origin,” permits
“private, voluntary, race-conscious” plans to correct a racial imbalance, in accordance with Congress’s
intent) with, e.g., Executive Order 10925 (signed by President Kennedy on March 6, 1961) (requiring that
government contractors “take affirmative action to ensure that applicants are employed, and employees are
treated during employment, without regard to their race, creed, color, or national origin”).


                                                      17
the words “without regard to” clearly mean the Exemption allows Defendants to help applicants

with lesser “financial circumstances” but not favor the financially privileged.9

        Defendants’ interpretation of “need-blind,” in contrast, does lead to absurd results. Defend-

ants insist (at 14) that they must disregard only what they consider to be “relevant ‘financial cir-

cumstances,’” and that their “[c]onsideration of applicants’ economic background for reasons un-

related to their need for financial aid . . . is irrelevant under Section 568.” Defendants receive

thousands of qualified applicants every year and could fill every freshman class with qualified,

full-paying students. See Brown, 5 F.3d at 661. If “need-blind” permitted Defendants to favor fi-

nancially advantaged students, then Defendants could receive the protection of the Exemption

while admitting a class comprised almost entirely of students whose financial circumstances allow

them to pay full tuition. See id. (“MIT could fill its entire entering class with students able to pay

the full tuition.”). They would be flipping the Exemption’s protection of “all students” on its head

without providing financial aid to those with lesser financial circumstances.

                2.      There Is No Ambiguity in Whether the Students at Each Participating
                        School Are Among “All” Students

        Defendants unreasonably argue (at 19-22) that the Exemption protects “need-blind schools

that lack actual knowledge that any other participating school is not need-blind.” For one thing,

each Defendant always knew it was never need blind. Moreover, Defendants did know that other

participants were not need-blind. The Cartel meets at least twice a year. AC ¶ 113; see also id. ¶¶

7, 121, 264. Defendants claimed to be monitoring the activities of Cartel members by obtaining


9
  Defendants’ argument also fails on its own terms. “The absurdity bar is high, as it should be. The result
must be preposterous, one that no reasonable person could intend.” Tavistock Rest. Grp., LLC v. Zurich
Am. Ins. Co., 2021 WL 1614519, at *3 (N.D. Ill. Apr. 26, 2021) (quotations omitted) (emphasis added). As
to Defendants’ interpretation, it would not be “preposterous” for Congress to bar any consideration of fi-
nancial circumstances. This language, however, does not bar universities from considering applicants’
strengths in overcoming adversity or helping others overcome adversity, such as homelessness, poverty,
substance abuse, gun violence, or other forms of family or community trauma.


                                                    18
annual “Certifications of Compliance.” (It turns out this was window-dressing; they knew the cer-

tifications of compliance were false. Id. ¶¶ 157, 173, 177, 183.) Defendants joined the Cartel on

the premise that each member was need-blind, and thus reasonably assumed a duty to ensure com-

pliance, Nat’l Broiler Mktg. Ass’n v. United States, 436 U.S. 816, 828-29 (1978), or else accept

the consequences of non-compliance. This result is no different from the well-established law

holding a defendant liable for the acts of even those co-conspirators whose conduct the defendant

did not direct or specifically know was happening. See Parts V.B & C, below.

       In addition, Defendants’ interpretation again invents requirements that do not exist in the

Exemption’s language and ignores the statute’s express use of the word “all.” (It also ignores, as

shown below, the allegations that Defendants possessed such knowledge.) Defendants have no

reasonable basis to complain (at 21-22) that “the exemption would require scrupulously monitor-

ing the admissions practices of every other member.” By its plain terms, the Exemption applies

only to an agreement between “2 or more institutions of higher education” that admit “all” students

on a need-blind basis. Where these conditions are unmet, the plain and unambiguous language thus

does not protect any institutions that have formed the agreement. The Exemption is inapplicable

here because the Cartel includes universities that have not admitted all of their students on a need-

blind basis; and, in fact, not one Defendant has admitted all of its own students on a need-blind

basis. See, e.g., AC ¶¶ 130, 134, 138, 143, 144-45, 157, 173, 177, 183. This interpretation does not

lead to any “absurd” result.

       First, it certainly would not be absurd to allow a member of a conspiracy of purportedly

need-blind schools to benefit from the Exemption only if all the conspirators were need-blind. This

serves to maximize the extent to which the benefiting schools are engaged in need-blind admis-

sions. Indeed, there is another antitrust exemption that operates just this way. The Capper-Volstead




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Act grants an exemption for agricultural cooperatives to agree on pricing and other matters, but

only for cooperatives composed exclusively of qualifying “farmers.” The exemption does not ap-

ply if a cooperative has admitted non-farmers, “even one of them.” Nat’l Broiler, 436 U.S. at 828-

29 (emphasis added); accord In re Mushroom Direct Purchaser Antitrust Litig., 621 F. Supp. 2d

274, 285 (E.D. Pa. 2009). So it is here: no Defendant is exempt from antitrust liability if even one

of the Cartel members failed to meet the statute’s qualifications. There is no reason why an ex-

emption in the Capper-Volstead Act may cover “unwitting conspirators,” as Defendants say, but

an exemption in the Sherman Act may not. The participation of even one non-need-blind university

is conduct “Congress clearly did not intend to protect.” Nat’l Broiler, 436 U.S. at 828.

       Second, without any requirement of actual knowledge, Defendants are subject to liability.

There is “no basis for supposing” that Congress intended any change in the antitrust doctrine that

would apply if the Exemption did not apply. United States v. McKesson, 351 U.S. 305, 310-11

(1956); accord In re Wheat Rail Freight Rate Antitrust Litig., 579 F. Supp. 517, 539-40 (N.D. Ill.

1984), aff'd, 759 F.2d 1305 (7th Cir. 1985). Instead, “Congress has marked the limitations beyond

which price fixing cannot go,” such that the Court is “not only bound by those limitations,” but

also “bound to construe them strictly.” McKesson, 351 U.S. at 316. Congress did not “create a

category of agreements which are outside the exemption . . . but should nevertheless be spared

from application of the per se rule.” Id. at 311. Under antitrust doctrine, to state a claim Plaintiffs

need not allege that each Defendant knew about any failure to make need-blind admissions; Plain-

tiffs must allege, as they do, only that each Defendants entered into an agreement to fix prices. See

Part III, below; see also United States v. Sandoval-Curiel, 50 F.3d 1389, 1392 (7th Cir. 1995) (co-

conspirators liable as the result of acts of their co-conspirators, even if they lacked actual

knowledge of those acts); United States v. Ras, 713 F.2d 311, 314 (7th Cir. 1983) (same).




                                                  20
                3.      There Is No Ambiguity in Whether Waitlisted Students Are Among
                        “All” Students

        Defendants argue, in a footnote (at 19 n.16), that the Exemption must be interpreted to

create a carveout for the many thousands of waitlisted students at these universities each year. This

again is not a reasonable interpretation of the word “all” in the Exemption. Defendants point to the

statement of a single Congressman (Rep. Lamar Smith) that the statutory language was “modeled”

on the Standards of Conduct negotiated between MIT and the Justice Department, which permitted

waitlisted students to be admitted on a need-aware basis. AC ¶ 137. Those Standards of Conduct

include “all” students “other than admitted from a wait list.” The plain language of the Exemption,

however, does not include that “other than” language. Where Congress knew of the MIT Standards

(as reflected in the legislative history that Defendants cite), Congress clearly decided not to include

any waitlist exception. Defendants’ implied suggestion that Congress made a mistake is unreason-

able because “courts must presume that a legislature says in a statute what it means and means in

a statute what it says there.” Conn. Nat’l Bank v. Germain, 503 U.S. 249, 253-54 (1992). This

interpretation does not lead to any “absurd” result, and Defendants do not appear to argue that it

does. The decision to require universities to admit waitlisted students on a need-blind basis fur-

thers—and, compared to the Standards of Conduct, maximizes—the extent to which any university

invoking the Exemption must make need-blind admissions decisions.10

                4.      The Legislative History Is Unnecessary and, by Its Own Terms, Does
                        Not Support Defendants’ Interpretation

        Where the Exemption is unambiguous, as shown above, any arguments about legislative

history “are irrelevant.” United States v. Coscia, 866 F.3d 782, 793 (7th Cir. 2017); accord United

States v. Gonzales, 520 U.S. 1, 6 (1997); Valero, 569 F.3d at 634. With respect to the Exemption,


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  If Defendants were correct, the waitlist exception could swallow the entire need-blind requirement; uni-
versities could change their admissions practices to rely much more heavily on waitlists.


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moreover, the legislative history explicitly circles back to the statutory text. That is, the 1994

House Conference Report states: “The managers have decided against elaborating on the need-

blind admissions standard in the statutory text.” H.R. Conf. Rep. 103-761, 911-12, 1994

U.S.C.C.A.N. 2901, 3242-43. Congress deliberately short-circuited, through the legislative record,

any attempt to reinterpret the statutory definition of “need blind basis.”

       C.      Plaintiffs Plausibly Allege That All Defendants Have Been Need-Aware in
               Admitting Waitlisted and Transfer Students

       Plaintiffs plausibly allege that Defendants have failed to conduct “need-blind” admis-

sions—even under Defendants’ misinterpretation—in admitting waitlisted and transfer students.

See AC ¶¶ 138-44. Defendants misapply the pleading standards in arguing (at 17-19) that these

allegations are insufficient or implausible. Such admissions decisions affect thousands of students

each year. See id. ¶¶ 138, 144. One former Penn admissions officer stated that “admissions officers

give a preference to full-paying student[s]” on the waitlist over those who need financial aid,” a

policy reflective of Penn’s own admissions practices, id. ¶ 139; and another former Penn admis-

sions officer, Sara Harberson, has stated that “[m]any need-blind universities are not open about

their policies when it comes to whom they admit off the waitlist,” id. ¶ 140. Plaintiffs also cite

multiple statements by former Vanderbilt employees and on its website indicating that the school

“reserved the right to be need aware” as to waitlisted students. Id. ¶¶ 141-42.

       These waitlist admissions policies are pled as representative of those of the other Defend-

ants. Id. ¶ 143. The reasonable inference is that these institutions still do practice need-aware ad-

missions for waitlisted applicants. Indeed, Ms. Harberson made her statement regarding Penn in

2021, and it applied to “many need-blind universities,” id. ¶ 140, and the reference to the Vander-

bilt website is current, id. ¶ 141. Plaintiffs will also rely on substantial additional evidence that




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Defendants make need-aware decisions for waitlisted and transfer applicants.11

       The allegation that Defendants are engaged in need-aware admissions of waitlisted and

transfer students is thus both specific and plausible. Defendants criticize Plaintiffs’ “information

and belief” pleading, citing Heard v. Becton, Dickinson & Co., 440 F. Supp. 3d 960 (N.D. Ill.

2020), but that decision holds that the “Twombly plausibility standard . . . does not prevent a plain-

tiff from pleading facts alleged upon information and belief where the facts are peculiarly within

the possession and control of the defendant.” 440 F. Supp. 3d at 969; accord Green v. Beth, 663

F. App’x 471, 474 (7th Cir. 2016); FirstMerit Bank, N.A. v. Ferrari, 71 F. Supp. 3d 751, 757 (N.D.

Ill. 2014). That is the case here, where the full extent to which Defendants make need-aware ad-

missions of waitlisted and transfer students is within only their control.

       D.      Defendants’ Arguments About Their Other Admissions Practices Are No Ba-
               sis for Dismissal

       Defendants argue (at 16-17) that enrollment management (“EM”) has nothing to do with

admissions. Plaintiffs allege otherwise. Schools commonly use EM to base admissions decisions

on a range of data, including students’ finances. AC ¶¶ 154-55. Institutions use EM in part so they

can “limit the number of financial-aid-eligible applicants who are admitted to the institution to

achieve financial and budgetary objectives.” Id. ¶ 155. A higher-education consultant to Columbia

and Penn confirmed this use of EM. Id. ¶ 156. An enrollment manager interviewed in The Atlantic

colorfully stated that “need-blind” institutions routinely use ability to pay as a driver in their ad-

missions decisions and that their claims to the contrary are “bullshit.” Id. ¶ 157. Plaintiffs have




11
   See, e.g., A REPORT ON THE STATE OF FINANCIAL AID AT BROWN 5 (Apr. 2, 2012), https://www.aca-
demia.edu/5101402/A_Report_on_the_State_of_Financial_Aid_at_Brown (Brown is need-aware for
transfer applicants, and Brown’s program for students who delayed college (Resumed Undergraduate Ed-
ucation) “is need-blind only for the applicants who are admitted as freshmen”).


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adduced additional evidence that at least five Defendants’ use of EM takes into consideration fi-

nancial factors. Id. ¶¶ 156-62. These are more-than-plausible allegations.

           Defendants also quibble with Plaintiffs’ allegation that Columbia’s School of General

Studies does not practice need-blind admissions, which Plaintiffs support by citing an article in

Columbia’s student newspaper (the Columbia Spectator) published on November 14, 2017. Id. ¶¶

146-49. Defendants’ argument (at 19) is that the article is conclusory and unsupported, but this is

not summary judgment; Defendants’ argument does not make Plaintiffs’ allegation implausible.

In citing a case about pleading scienter under the securities laws, In re McKesson HBOC, Inc. Sec.

Litig., 126 F. Supp. 2d 1248 (N.D. Cal. 2000), Defendants invoke a standard that has no application

here. In this Court, newspaper articles can support the plausibility of a plaintiff’s allegation. See,

e.g., Edmond v. City of Chicago, 2018 WL 5994929, at *14 (N.D. Ill. Nov. 15, 2018); Payne v.

Cty. of Cook, 2016 WL 1086527, at *16 (N.D. Ill. Mar. 21, 2016). Continuing to rely on a summary

judgment-type standard, Defendants (at 19-20) import extrinsic evidence to argue that Plaintiffs’

allegation about Columbia is wrong: a February 16, 2022, post-litigation purported “correction”

to the 2017 article. To say the least, Plaintiffs are entitled to discovery on this “correction.”12

           Defendants further argue (at 20), incorrectly, that “Plaintiffs allege no facts at all as to the

admissions practices of Caltech, Chicago, Cornell, Emory, Johns Hopkins or Yale.” All Defend-

ants “failed to conduct their admissions practices on a need-blind basis because all of them made




12
     The Spectator’s article was corrected only after Plaintiffs filed their Complaint, and with an Editor’s Note,
not by the original author. The “correction” itself is unclear because it concedes that “General Studies does
not offer full-need financial aid.” Eli Lee, Public Health professor Lisa Rosen-Metsch appointed dean of
General Studies, COLUMBIA SPECTATOR (Nov. 14, 2017) (updated Feb. 16, 2022). The “correction” is
extrinsic evidence in defense, not suited for consideration on a motion to dismiss. See Hakim v. Accenture
U.S. Pension Plan, 2009 WL 10740578, at *2 (N.D. Ill. Feb. 4, 2009); Burke v. 401 N. Wabash Venture,
LLC, 2011 WL 2565896, at *4 (N.D. Ill. June 28, 2011), aff’d, 714 F.3d 501 (7th Cir. 2013).


                                                         24
admissions decisions taking into account the financial circumstances of applicants and their fami-

lies, through policies and practices that favored the wealthy and disfavored those needing aid.” AC

¶ 134. Plaintiffs point to evidence these practices exist at every university, for every year, including

for waitlisted and transfer students. See id. ¶¶ 130, 134, 138, 143-45, 157, 173, 177, 183.

III.    PLAINTIFFS STATE A PER SE CLAIM UNDER THE SHERMAN ACT

        The resolution of which mode of analysis to apply to a Section 1 claim—per se treatment,

the “Quick Look” analysis, or the Rule of Reason—is a fact-intensive question unsuited for a

motion to dismiss. See Delta Dental, 484 F. Supp. 3d at 634-35. Defendants’ heavy, misplaced

reliance on Brown highlights that the appeal in that case was based on the detailed factual record

of a ten-day bench trial, and then remanded for still further fact-finding See 5 F.3d at 664. The

question now is whether Plaintiffs have plausibly alleged facts under which the per se rule could

apply. See id. They have.

        A.      With No Exemption, the Per Se Rule Applies

        Defendants argue (at 23-24) that “Congress has approved of arrangements like the Con-

sensus Methodology,” but it did so only in connection with creating the Exemption. “[C]onduct

which does not satisfy the provision creating immunity should be analyzed according to traditional

antitrust principles.” Wheat Rail, 579 F. Supp. at 540 (emphasis added); accord McKesson, 351

U.S. at 310-11. “Per se illegal conduct remains per se illegal in the context of a regulatory scheme

which creates an express exemption.” Wheat Rail, 579 F. Supp. at 539. Without protection of the

Exemption, Defendants’ conduct falls under the rule that horizontal restraints are “unreasonable

per se.” Ohio v. Am. Express Co., 138 S. Ct. 2274, 2283-84 (2018) (quotations omitted); accord

Always Towing, 2 F.4th at 704-05; Delta Dental, 484 F. Supp. 3d at 634-35.

        Defendants argue (at 23-24) that “per se treatment is inappropriate where Congress has

recognized the procompetitive benefits of the challenged conduct,” citing Broadcast Music, Inc.


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v. Columbia Broadcasting System, Inc., 441 U.S. 1, 13 (1979). But Congress never suggested that

a price-fixing conspiracy among non-need-blind institutions had any redeeming competitive vir-

tues. Broadcast Music involved the creation of a blanket license, which was an entirely new prod-

uct that could not exist without pricing agreements. There is no similar new product here. Even

more to the point, the blanket license in Broadcast Music conformed to a consent decree; the CM

does not conform to the Exemption precisely because it is not exclusively among need-blind insti-

tutions that admit all students on a need-blind basis.

        Defendants also claim (at 26) that their use of the CM “leaves ample room for competi-

tion.” However, “it was settled shortly after the Sherman Act was passed that it is no excuse that

the prices fixed are themselves reasonable,” Trial Lawyers, 493 U.S. at 424 (quotations omitted),

and, as shown above, it is per se unlawful for horizontal competitors to agree to apply a “formula”

by which they set prices. This precedent defeats Defendants’ suggestion (at 26) that Plaintiffs

would have to show “an agreement to engage in coordinated price increases.” The Cartel’s use of

the CM raises, fixes, pegs, or stabilizes prices for financial-aid packages, AC ¶¶ 123, 124, 129,

and seeks to “reduce variance” and “diminish or eliminate divergent results,” id. ¶¶ 126-28. In

their own words, Defendants have agreed to “‘ask the family to contribute the maximum that they

are capable of, according to that formula.’” Id. ¶ 129 (emphasis added). Defendants ignore (as at

25) that this joint agreement creates a price floor, which is an artificial restriction on competition.13



13
  In addition, Defendants do not claim any exception to the per se rule. Plaintiffs do not allege, and it would
be untrue, that their horizontal agreement is essential for Defendants even to offer their educational services,
Am. Needle, Inc. v. NFL, 560 U.S. 183, 203 (2010); that Defendants would somehow be unable to negotiate
financial-aid packages with admitted students on an individual basis, see Broad. Music, 441 U.S. at 22-23;
or that Defendants jointly participate in the marketplace as a single competitor and financial investors in
the Cartel, Am. Needle, 560 U.S. at 195-99; Texaco Inc. v. Dagher, 547 U.S. 1, 5-6 (2006). Plaintiffs do not
allege that Defendants have pooled their profit, shared any risk of loss, or provided a joint product, in
competition with some other product. Cf. Dagher, 547 U.S. at 6.




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        B.      The Third Circuit’s Brown Decision Does Not Preclude Per Se Treatment

        Defendants (at 23-29) mainly argue against the per se rule by citing Brown. This decision

is no basis for rejecting the per se rule here, let alone as a matter of law.

        First, Plaintiffs plausibly allege facts that are the opposite of the rationale for the holding

in Brown. The Third Circuit treated the Overlap Group as a charitable organization and, in that

regard, stated it would not conclude that “commercially motivated conduct of such organizations

should be immune from per se treatment”; the “alleged pure altruistic motive and alleged absence

of a revenue maximizing purpose” led the court to remand for factual analysis under the Rule of

Reason. Brown, 5 F.3d at 672 (emphasis added). That analysis never happened, because the case

settled. Here, Plaintiffs allege that Defendants engage in “commercially motivated conduct,” do

not behave with “pure altruistic” motives, and do act with a “revenue maximizing purpose.” AC

¶¶ 129, 131, 134-84, 255-57.

        Defendants’ agreement to make students and families pay the maximum they can afford to

pay is commercially motivated, not “altruistic,” and is “revenue maximizing.” Id. ¶¶ 129, 138-38.

The same is true for Defendants’ efforts to enroll the highest academic performers and student-

athletes to maintain the schools’ prestige and influence, and thereby attract donations and increase

their endowments. Id. ¶ 131. Unlike the Overlap Group, the Cartel does not have a collective “pol-

icy of allocating financial aid solely on the basis of demonstrated need.” Brown, 5 F.3d at 674-75;

see also AC ¶ 254. Instead, at least several Defendants award millions of dollars in athletic and

merit scholarships every year. Id. ¶ 254. And because Defendants “generated or have the ability to

generate revenue that well exceeds expenses on an annual basis,” they would have been able to

devote more resources for financial aid if they had competed rather than colluded. Id. ¶ 257. The

same is true of Defendants’ use of EM, which has the effect of limiting “the number of financial-




                                                  27
aid-eligible applicants who are admitted to the institution to achieve financial and budgetary ob-

jectives.” Id. ¶¶ 153-63. Defendants’ decisions to shield and grow their endowments, rather than

provide more scholarship aid or lower prices, further show that they are not driven by a “pure

altruistic motive” and that they are “revenue maximizing.” Id. ¶¶ 258-59. In short, accepting

Brown’s analysis, under the fact alleged here, counsels in favor of the per se rule.

        Second, “[w]hether an antitrust violation exists necessarily depends on a careful analysis

of market realities. If those market realities change, so may the legal analysis.” Alston, 141 S. Ct.

at 2158 (citations omitted) (emphasis added). Plaintiffs allege that the “market realities” since

Brown have changed substantially. Cf. id. (“When it comes to college sports, there can be little

doubt that the market realities have changed significantly since 1984.”). Defendants cannot rea-

sonably bemoan that they face “the unfortunate fact that financial aid resources are limited,”

Brown, 5 F.3d at 677, where they now have more than $233 billion in assets under management.

AC Appendix A, at 72-74. For those Defendants for which operating expense data are publicly

available, the growth in the schools’ endowments has far outpaced the growth in the schools’ an-

nual operating expenses, leaving the endowments an “increasingly ample financial resource for

the schools to use to meet the financial needs of their students.” AC ¶¶ 255-57. Defendants’ lack

of a “pure altruistic motive,” and successful efforts to be “revenue maximizing,” are changed “mar-

ket realities” that further support application of the per se rule.

        Third, the Third Circuit erred in its analysis of the per se rule.14 The Overlap Group’s

purported altruism was no basis for avoiding antitrust liability for price fixing: “No matter how




14
 Defendants argue (at 26) that the Supreme Court has “favorably described Brown,” but the Court did no
more than cite the case as distinguishing Supreme Court holdings regarding professional associations, see
Cal. Dental Ass’n v. FTC, 526 U.S. 756, 770-71 (1999), and on grounds that do not apply to Defendants,
who do act out of strong economic self-interest.


                                                   28
altruistic the motives of respondents may have been, it is undisputed that their immediate objective

was to increase the price that they would be paid for their services.” Trial Lawyers, 493 U.S. at

427. The Third Circuit nevertheless concluded that “when bona fide, non-profit professional asso-

ciations adopt a restraint which they claim is motivated by public service or ethical norms,” then

“it is proper to entertain and weigh procompetitive justifications.” Brown, 5 F.3d at 672. The first

flaw in this logic is that the court did not even conclude that the Overlap Group was a “professional

association,” and it was not. Instead, the court analyzed MIT as a charitable “organization,” id.,

but as the court itself acknowledged, id., there is no antitrust immunity for non-profit entities. See

Arizona v. Maricopa Cnty. Med. Soc’y, 457 U.S. 332, 349-52 (1982); Goldfarb v. Va. State Bar,

421 U.S. 773, 786-87 (1975).15 Nor did the court find that the Overlap Group possessed any of the

critical characteristics of professional associations. Here, Defendants do not even claim that the

Cartel is a “professional association.” Plaintiffs are not aware of any case since Brown holding that

the per se rule does not apply to “charitable” or “altruistic” defendants. To the contrary, for exam-

ple, the courts regularly apply the rule to non-profit hospitals.16

        C.      No Other Precedent Precludes Per Se Treatment in This Case

        Defendants argue (at 31) that the courts lack significant experience in this area, but the

Supreme Court has rejected the notion that the per se rule “must be rejustified for every industry




15
  The “main efficiency rationale” for applying the antitrust laws to for-profit firms applies equally to non-
profit firms. Thomas J. Philipson & Richard Posner, Antitrust in the Not-for-Profit Sector, 52 J. L. & Econ.
1, 18 (Feb. 2009). Citing collusion among universities in particular, the authors conclude: “Because pro-
moting competition turns out to be socially valuable regardless of the particular objectives of producers,
the fact that antitrust law does not distinguish between the two sectors is efficient.” Id. (emphasis added).
16
 See, e.g., Fleischman v. Albany Med. Ctr., 728 F. Supp. 2d 130, 162 (N.D.N.Y. 2010); Doe v. Ariz. Hosp.
& Healthcare, 2009 WL 1423378, at *3 (D. Ariz. Mar. 19, 2009); New York ex rel. Spitzer v. St. Francis
Hosp., 94 F. Supp. 399, 413 (S.D.N.Y. 2000).


                                                     29
that has not been subject to significant antitrust litigation.” Maricopa, 457 U.S. at 350-51 (quota-

tions omitted). Defendants’ argument “ignores the rationale for per se rules, which in part is to

avoid the necessity for an incredibly complicated and prolonged economic investigation into the

entire history of the industry involved, as well as related industries, in an effort to determine at

large whether a particular restraint has been unreasonable.” Id.; accord United States v. Joyce, 895

F.3d 673, 678 (9th Cir. 2018). This case is about price fixing, and whatever “peculiar problems

and characteristics” may inform a given marketplace, “the Sherman Act, so far as price-fixing

agreements are concerned, establishes one uniform rule applicable to all industries alike.” Mari-

copa, 457 U.S. at 349.17

        D.      Plaintiffs’ Per Se Claim, At A Minimum, Raises Critical Fact Issues

        “Per se rules may require considerable inquiry into market conditions before the evidence

justifies a presumption of anticompetitive conduct.” NCAA v. Bd. of Regents of Univ. of Okla., 468

U.S. 85, 104 n.26 (1984) (emphasis added). The ten-day trial in Brown, as noted, illustrates this

principle; and even that wasn’t enough, as there was a remand for more fact-finding. See 5 F.3d at

664. This Court has thus declined to dismiss per se claims where discovery would bear on the

propriety of applying the rule. See Delta Dental, 484 F. Supp. 3d at 634-36. The Court thus need

not resolve now which mode of analysis applies. See City of Rockford v. Mallinckrodt ARD, Inc.,

360 F. Supp. 3d 730, 754 (N.D. Ill. 2019) (collecting authority). Where Defendants dispute the

relevant allegations, Plaintiffs should be permitted discovery on whether and how Defendants



17
   Defendants (at 24) cite Bunker Ramo Corp. v. United Business Forms, Inc., 713 F.2d 1272 (7th Cir.
1983), for a contrary proposition, but this decision did not concern any scheme to set, peg, or stabilize
prices, and thus the court did not even apply the Sherman Act. See id. at 1284. In addition, since that deci-
sion, the Third Circuit decided Brown, which did not rule out the per se rule based on any lack of judicial
experience. Defendants’ reliance (at 26) on Cal. Dental, 526 U.S. at 770-71, is similarly misplaced. That
case concerned advertising restrictions intended to prevent consumer fraud and distinguished such provi-
sions from the types of direct agreements to fix prices or discounts at issue here


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could have been applying their price-fixing formula from a “pure altruistic motive” and in the

“absence of a revenue maximizing purpose,” Brown, 5 F.3d at 672, given their increasingly mas-

sive revenue generation and longstanding practices of need-aware admissions.18

IV.     IN THE ALTERNATIVE, PLAINTIFFS STATE A CLAIM UNDER THE
        “QUICK LOOK” OR RULE OF REASON ANALYSIS

        A.       Plaintiffs State a Claim Under the “Quick Look” Analysis

        Plaintiffs’ claims, in the alternative, satisfy the “quick look” approach because Defendants’

conduct is clearly anticompetitive. In that situation, the court considers whether the defendants

have proffered “plausible” procompetitive effects. Cal. Dental, 526 U.S. at 770-71 (under “quick

look,” there is “no elaborate industry analysis” when “the great likelihood of anticompetitive ef-

fects can easily be ascertained); see also Chicago Prof’l Sports, 961 F.2d at 674-676 (finding

quick-look analysis applicable after rejecting logic of proffered procompetitive justifications).

        First, Plaintiffs sufficiently allege the Cartel, like nearly all cartels, has significant anti-

competitive effects. In addition to the law on the effects of horizontal price-fixing agreements, as

shown above, the Cartel admits that it reduces variance in prices. AC ¶¶ 126-27. This is plainly

anticompetitive. See, e.g., Wilk v. Am. Med. Ass’n, 895 F.2d 352, 360 (7th Cir. 1990). Yale has

acknowledged the Cartel’s harmful effects on prices, AC ¶ 124, and Plaintiffs plausibly allege the

Cartel has had substantial anticompetitive effects for all students on financial aid. Id. ¶¶ 237-39.

In citing (at 27) the existence of schools outside the Cartel, Defendants overlook that Plaintiffs




18
  It is readily apparent from Defendants’ annual reports, which Plaintiffs will cite in support of their claims,
that Defendants are business conglomerates, engaged in multiple lines of business: educational services;
medical care (true of nearly all Defendants); government and business supported research; monetization of
research through patent royalties and sales; commercial real estate operations; and, through their endow-
ments, private equity, and venture capital.


                                                      31
need allege only “the rough contours of a relevant market,” not “a precisely defined relevant mar-

ket.” Republic Tobacco v. N. Atl. Trading, 381 F.3d 717, 737 (7th Cir. 2004).19

        Second, the notion that Defendants’ price fixing is entitled to any procompetitive presump-

tion is wrong; such a presumption arises for horizontal competitors only where they collectively

offer a product that would not even exist without collusion. See Am. Needle, 560 U.S. at 203. Nor

is there any suggestion in Brown that when competing universities engage in price fixing, they are

presumed to be creating procompetitive effects. Cf. Brown, 5 F.3d at 664, 674. Defendants cite the

2006 GAO Report, for example, which disclaims that it was “not intended to address whether or

not conduct may be taking place that might violate the antitrust laws in the absence of the exemp-

tion.” 2006 GAO Rpt. at 3. In the report, moreover, the Cartel itself disclaimed that increasing

access and affordability was even the point of the Exemption.20

        Third, the Defendants have the burden to show procompetitive effects. They can only meet

this burden by providing empirical evidence. Cal. Dental, 526 U.S. at 775 n.12 (the “quick look”

analysis shifts “to a defendant the burden to show empirical evidence of procompetitive effects”);

see also NCCA, 468 U.S. at 86. Moreover, a district court cannot resolve the sufficiency of any

such evidence on a motion to dismiss. See, e.g., Allen v. GreatBanc Tr. Co., 835 F.3d 670, 676

(7th Cir. 2016); Butler v. Jimmy John’s Franchise, LLC, 331 F. Supp. 3d 786, 797 (S.D. Ill. 2018).




19
  Accord P & M Distribs., Inc. v. Prairie Farms Dairy, Inc., 2013 WL 5509191, at *3 (C.D. Ill. Oct. 4,
2013); Rock v. NCAA, 2013 WL 4479815, at *10 (S.D. Ind. Aug. 16, 2013); Peoria Day Surgery Ctr. v.
OSF Healthcare Sys., 2009 WL 5217344, at *5 (C.D. Ill. Dec. 30, 2009).
20
  Allowed to comment, and unable to dispute the GAO’s finding that the Cartel had no pro-competitive
effects, the Cartel wrote: “[W]e did not interpret Congressional intent to have focused on making college
more affordable for low-income students or other under-represented groups.” 2006 GAO Rpt. at 81.


                                                   32
       B.      Plaintiffs State a Claim Under the Rule of Reason Analysis

               1.      Plaintiffs Plausibly Allege Anticompetitive Effects

       If the Rule of Reason applies, Plaintiffs have met their pleading burden because they have

alleged anticompetitive effects, both through direct effects on competition and through Defend-

ants’ exercise of market power. See FTC v. Ind. Fed’n of Dentists, 476 U.S. 447, 461 (1986);

Republic Tobacco, 381 F.3d at 737. In Brown, for example, neither the Third Circuit nor the district

court required any formal market definition in assessing competitive effects. Plaintiffs plausibly

allege both direct and indirect anticompetitive effects.

       Direct Anticompetitive Effects. The Cartel has agreed on and jointly implemented and

enforced the CM, which has fixed, increased, maintained, and stabilized net prices of attendance

at “artificially high, non-competitive levels.” AC ¶ 265. This has caused Plaintiffs to pay “more

for attendance at Defendants than they would have paid and will pay but for the combination and

conspiracy.” Id. ¶ 266. The Cartel’s website itself shows Defendants have eliminated competition

in financial-aid offers to coalesce “around a uniform and lower level of aid to all prospective stu-

dents.” Id. ¶¶ 125, 127. Yale, Harvard, and Georgetown have all admitted that the Cartel operates

to limit the financial aid that the Cartel would otherwise award. See id. ¶¶ 124-25, 129. These are

directly anticompetitive effects. See, e.g., Wilk, 895 F.2d at 360.

       Plaintiffs also allege that direct anticompetitive effects resulted in part from Defendants’

exchange of confidential and sensitive financial information, which Defendants admit (at 27) oc-

curred. AC ¶¶ 7, 117, 193. Indeed, members of price-fixing arrangements frequently exchange

information to police their agreements. See, e.g. In re Flat Glass Antitrust Litig., 385 F.3d 350,

368-69 (3d Cir. 2004). The exchange of price information and other competitive data by horizontal

competitors can of itself significantly impair competition and constitute an unreasonable restraint

of trade. See, e.g., United States v. Container Corp., 393 U.S. 333, 337-38 (1969); Am. Column &


                                                 33
Lumber Co. v. United States, 257 U.S. 377, 411-12 (1921); Broiler Chicken, 290 F. Supp. 3d 772,

781 (N.D. Ill. 2017) (motion to dismiss denied where plaintiffs’ price-fixing allegation based, in

part, on allegation that defendant chicken producers shared an “unusual” amount of information).

       In citing (at 24) the finding in the 2006 GAO Report that “the antitrust exemption did not

adversely impact the affordability of colleges and universities,” Defendants present extrinsic evi-

dence, which cannot support a motion to dismiss. In addition, the report sheds no light on the

anticompetitive impact of the CM over the nearly two-decade period at issue here. One, the report

was preliminary and covered only a single academic year (2004-05) of CM use. As a result, the

report itself admitted that these limitations could “mask” the effects of the CM. 2006 GAO Rpt. at

71. Two, due to data limitations, the report was limited to only six of the Defendants (Cornell,

Duke, Georgetown, Notre Dame, Vanderbilt, and Yale). Three, because Congress mandated the

report, the Cartel knew it focused on only one year of CM use, which allowed them to account for

that fact in making their financial-aid decisions. Four, the report states it was “not intended to

address whether or not conduct may be taking place that might violate the antitrust laws in the

absence of the exemption.” 2006 GAO Rpt. at 3 (emphasis added). Defendants thus address facts

that, at minimum, are “subject to reasonable dispute.” Munguia, 2010 WL 3172740 at *5.

       Where Plaintiffs have thus plausibly alleged direct anticompetitive effects, they must allege

only “the rough contours of a relevant market, and show that the defendant commands a substantial

share of the market.” Republic Tobacco, 381 F.3d at 737; see also Part IV.A, above. Plaintiffs

show below that they do define a plausible, conventional market, and Defendants’ substantial share

of it, but at minimum they have plausibly alleged the “rough contours” of a relevant market.

       Indirect Anticompetitive Effects. Plaintiffs have plausibly pleaded a relevant market for

“undergraduate education at private national universities with an average ranking of 25 or higher




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in the U.S. News & World Report rankings from 2003 through 2021 (the most recent year in which

Class Members applied to any of Defendants).” AC ¶ 241. Defendants’ argument (at 3) that the

market must include public universities and liberal arts colleges lacks merit and is premature. On

a substantial trial record, for example, Brown rejected this argument, holding plaintiffs had demon-

strated a relevant market for higher educational consisting of what is commonly referred to as the

“Ivy Plus.” Brown, 5 F.3d at 673. Indeed, the court did not require the district court to conduct a

detailed market analysis, because the “Overlap Agreement aims to restrain competitive bidding

and deprive prospective students of the ability to utilize and compare prices in selecting among

schools, it is anticompetitive on its face.” Id. (quotations omitted). Brown further held, without any

detailed market analysis, that the Overlap Group, paralleling the Cartel, collectively exerted mar-

ket power. Id. at 666 n.7. These holdings alone show Plaintiffs’ relevant market is plausible.

        Plaintiffs further allege that two highly respected classification systems, the Carnegie Clas-

sification and U.S. News, classify universities and liberal arts colleges separately. AC ¶ 242.21

Moreover, Defendants themselves acknowledge that they compete within the relevant market. Id.

¶ 251. Northwestern and Duke identify their competitors and market in a strikingly similar manner

as Plaintiffs. Id. ¶¶ 248, 251. Indeed, the President of Northwestern identifies as competitors 24 of

the 25 universities in the relevant market here. Id. ¶ 251. “Industry recognition is well established

as a factor that courts consider in defining a market. . . . It is significant because we assume that

the economic actors usually have accurate perceptions of economic realities.” Todd v. Exxon

Corp., 275 F.3d 191, 205 (2d Cir. 2001) (quotations omitted). In addition, Elite, Private Universi-

ties possess characteristics, including admission and yield rates, differentiating them from other


21
  Defendants cite a website indicating that U.S. News considers the same factors in the weighting of both
national universities and liberal arts colleges, https://www.usnews.com/education/best-colleges/arti-
cles/how-us-news-calculated-the-rankings, but U.S. News then conspicuously ranks them separately.


                                                   35
types of schools. AC ¶¶ 244-47, 249. Plaintiffs will also rely on substantial additional evidence

supporting their market definition—including Defendants’ further admissions.22

        On Defendants’ argument that non-market schools are substitutes, the relevant question,

and a “deeply fact-intensive” one, Olean Wholesale Grocery Coop., Inc. v. Agri Stats, Inc., 2020

WL 6134982, at *7 (N.D. Ill. Oct. 19, 2020), is whether there is “sufficient cross-elasticity of

demand.” Todd, 275 F.3d at 201 (emphasis added). That is, the existence of “some cross-elasticity

of demand” between products does not mean they are sold in the same market. Jamsports & Entmt.

LLC v. Paradam Prod’ns, 2003 WL 1873563, at *7 (N.D. Ill. Apr. 15, 2003) (Kennelly, J.). The

analysis and resolution of these distinctions do not turn on intuition or mere defense arguments;

they turn on discovery.23 They require discovery. See Olean, 2020 WL 6134982, at *7; Jamsports,

2003 WL 1873563, at *6; see also In re Crude Oil Commodity Futures Litig., 913 F. Supp. 2d 41,

54 (S.D.N.Y. 2012) (finding alleged market plausible and explaining that extent of substitutability

between products at issue is among the “fruitful areas for discovery”).

        In FTC v. Staples, Inc., 970 F. Supp. 1066 (D.D.C. 1997), for example, the court recognized

a market of “office supply superstores” despite the existence of competing office supply catalogs,

Walmart, and other national and local office supply stores that sell similar products. See id. at


22
   See, e.g., John J. DeGioia, Student Town Hall Meeting on the Implications of the Financial Crisis (Mar.
2, 2009) (Georgetown competes “among the top 25 universities in the nation”); Need-Blind Admissions and
the Drive to Increase Endowed Scholarships (Oct. 13, 1999) (former Penn President Judith Rodin explains
that Penn’s peer group in providing financial aid is the “Ivy-plus cohort”).
23
   See Heritage Guitar, Inc. v. Gibson Brands, Inc., 2022 WL 1954361, at *4-5 (W.D. Mich. June 6, 2022)
(plausible market for “premium” solid-body single and double “cutaway” electric guitars; whether the mar-
ket should be broadened to include other guitars “need not be determined on the pleadings”); see, e.g.,
Photovest Corp. v. Fotomat Corp., 606 F.2d 704, 713-14 (7th Cir. 1979) (drive-through photo processing
distinct from photo processing generally); Avenet, Inc. v. FTC, 511 F.2d 70, 77 (7th Cir. 1975) (new parts
distinct from rebuilt parts); In re Local TV Advert. Antitrust Litig., 2020 WL 6557665, at *12 (N.D. Ill.
Nov. 6, 2020) (broadcast television spot advertisements distinct from other forms of advertisement); Olean,
2020 WL 6134982, at *7 (turkey-meat consumption in the United States distinct from consuming many
other foods); see also Meyer v. Kalanick, 174 F. Supp. 3d 817, 827-28 (S.D.N.Y. 2016) (app-generated
ride-share services distinct from taxis and car services).


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1079-80. The defendants’ own documents regarding competitive strategy “focus[ed] primarily on

competition from other superstores.” Plaintiffs similarly allege Defendants’ strategies focus on

other Elite, Private Universities. AC ¶ 251. Whatever theoretical degree of competition Defendants

allege they face from liberal arts colleges or public universities, students accepted to both Elite,

Private Universities and colleges or public universities opt to attend the Elite, Private Universities.

Plaintiffs thus plausibly allege, as the FTC showed for the market in Staples, 970 F. Supp. at 1079-

80, that a small but significant non-transitory price increase would not lead prospected or admitted

students to choose substitutes. AC ¶¶ 243-46.

                2.      Defendants Cannot Show Procompetitive Effects

        Defendants insist (at 1, 24, 29) their use of the CM is procompetitive because it leads to

“fairer” results and makes education more accessible. This is essentially the same argument that

MIT asserted in Brown, and that the Third Circuit remanded for factual development on the prem-

ise that horizontal agreement may “increase[e] financial aid for needy students.” 5 F.3d at 674

(emphasis added). These arguments are no basis for dismissing Plaintiffs’ claims.

        First, as shown above, an affirmative defense does not resolve a motion to dismiss. Where

anticompetitive effects exist, the “burden shifts to the defendant to show a procompetitive rationale

for the restraint.” Am. Express, 138 S. Ct. at 2284. The courts do not balance those alleged effects

at this stage.24 Indeed, Brown did not make findings regarding procompetitive justifications, but

instead remanded for further fact-finding.



24
  See, e.g., Moehrl, 492 F. Supp. 3d at 782-83 (where defendants argue their alleged actions “have a pro-
competitive effect on balance, the Court will not consider such arguments at this stage”); In re Dealer
Mgmt. Sys. Antitrust Litig., 360 F. Supp. 3d 788, 803 (N.D. Ill. 2019) (same); Cook Inc. v. Boston Sci.
Corp., 2002 WL 335314, at *4 (N.D. Ill. Feb. 28, 2002) (same); see also Butler, 331 F. Supp. 3d at 797
(holding “the Court cannot decide at this early stage in the proceedings which rule will apply,” where dis-
covery would bear on whether defendant “carries its burden under the quick look approach” to show pro-
competitive effects).


                                                    37
        Second, any procompetitive effect would not warrant dismissal, even if (unlike here) it had

been “proven” with “evidence,” Alston, 141 S. Ct. at 2162, where Defendants could have achieved

such benefits through “substantially less restrictive means.” Id. Plaintiffs plausibly allege that free

competition among Defendants was “a reasonable and less restrictive alternative.” AC ¶ 258. In

claiming (at 1) to improve the “fair and efficient allocation of aid” (emphasis added), Defendants

assume that their financial-aid budgets were, and still are, immutably fixed. That would not be the

case if Defendants truly competed on price. See Brown, 5 F.3d at 679 (less restrictive means in-

clude “the free market coupled with MIT’s institutional resolve”). Based on public information, if

Defendants increased their annual spending rate from their unrestricted endowments from the cur-

rent 4.5 percent annually to 6.5 percent,25 then 9 of the 17 Defendants need not charge anything at

all to their current students on financial aid, while the net price at the 8 others would fall by an

average of almost $12,000 annually. (Litan Decl. Ex. F.) Defendants could do all this and still

grow their endowments, since their long-run annual rate of return is between 8.4 and 10 percent.26

V.      THE DEFENDANT-SPECIFIC ARGUMENTS ARE NO BASIS FOR DISMISSAL

        A.      Brown, Chicago, and Emory’s “Withdrawal” Argument Fails

        BCE argue (at 1-3) they “withdrew” from the Cartel more than four years before the Com-

plaint, making the claims against them untimely. This argument fails. First, withdrawal from a

conspiracy is an affirmative defense, Smith v. United States, 568 U.S. 106, 112 (2013), and the


25
  The 4.5 percent spending average is for schools with endowments of $1 billion or more, from American
Council on Education, Understanding College and University Endowments 13 (2021),
https://www.acenet.edu/Documents/Understanding-College-and-University-Endowments.pdf.
26
   The 8.4 percent figure is the 10-year average for 774 colleges, universities, and affiliated foundations
from 2011 through 2020. NACUBO, U.S. Educational Endowments Report 5.3 Percent Average Return in
FY 2019 (Jan. 30, 2020), https://www.nacubo.org/Press-Releases/2020/US-Educational-Endowments-Re-
port-5-3-Percent-Average-Return-in-FY19. Ivy league endowments earned a 10.9 percent rate of return
from 1992 through 2013. Peter Mladina, Charles Grant, and Abdul Nimeri, Illuminating the Returns of Elite
Investors (Apr. 2014), https://www.northerntrust.com/documents/commentary/investment-commentary/il-
luminating-returns-elite-investors.pdf.


                                                    38
disposition of an affirmative defense is not a proper subject on a motion to dismiss. Allen, 835

F.3d at 676. Whether a conspirator has withdrawn is a classic issue of fact. See, e.g., Winn-Dixie

Stores, Inc. v. E. Mushroom Mktg. Coop., 2021 WL 409982, at *4-5 (E.D. Pa. Feb. 5, 2021) (sum-

mary judgment); see also United States v. Bafia, 949 F.2d 1465, 1480 (7th Cir. 1991); Wolf v. City

of Chicago Heights, 828 F. Supp. 520, 523 (N.D. Ill. 1993).

        Second, BCE bear the burden of proving they acted to defeat or disavow the purpose of the

conspiracy. Smith, 586 U.S. at 113-14; Watson Carpet & Floor Covering, Inc. v. Mohawk Indus.,

648 F.3d 452, 457-58 (6th Cir. 2011). BCE attempt to distinguish Smith by contending withdrawal

is an affirmative defense only for criminal conspiracies. They cite no case law for this distinction;

there is none. The Sixth Circuit rejected this argument in Watson Carpet, reasoning that requiring

a criminal defendant to bear the burden of proof of withdrawal is equally sensible for a civil de-

fendant. See 648 F.3d at 457-58; see also Winn-Dixie, 2021 WL 409982, at *4-5.27

        Third, BCE have not met their burden. BCE cite extrinsic evidence the Cartel’s website

stopped listing them, but even if that signaled the end of their involvement in the conspiracy, it is

not “withdrawal.” United States v. Sax, 39 F.3d 1380, 1386 (7th Cir. 1994). The conspirator must

also perform an affirmative act to defeat or disavow the unlawful goal of the conspiracy. United

States v. Nagelvoort, 856 F.3d 1117, 1128-29 (7th Cir. 2017). That act must be either alerting

government authorities about the unlawful conduct or communicating to each of the other con-

spirators that the member has disavowed the conspiracy and its goals. Sax, 39 F.3d at 1386; see




27
  BCE’s reliance on McGarry & McGarry, LLC v. Bankr. Management Solutions, Inc., 937 F.3d 1056 (7th
Cir. 2019), is misplaced. The court was not discussing antitrust injury as an element of the cause of action
but rather whether the plaintiff had antitrust standing. BCE’s citation to Krause v. Perryman, 827 F.2d 346
(8th Cir. 1987), also is inapplicable, because the court was not discussing the elements of a Section 1 claim.


                                                     39
also United States v. Vallone, 698 F.3d 416, 494 (7th Cir. 2012), vacated on other grounds sub

nom., Dunn v. United States, 570 U.S. 901 (2013). BCE have not cited any such evidence.

        Instead, BCE argue that Plaintiffs originally alleged that BCE “evidently” withdrew, but

Plaintiffs did not allege—because it would have been untrue—that BCE had either alerted govern-

ment authorities about the unlawful conduct or communicated to each of the other conspirators

that they had abandoned the conspiracy and its goal. BCE also overlook the reasonable inference

that Plaintiffs concluded for its controlling pleading that BCE had not withdrawn. On a motion to

dismiss, the court gives effect to the current pleading. Scott v. Chuhak & Tecson, 725 F.3d 772,

782-83 (7th Cir. 2013).28 If BCE did proffer any evidence of their withdrawal and disavowal,

moreover, Plaintiffs would be entitled to discovery on the issue.

        B.      JHU’s Particular Arguments Are No Basis for Dismissal

        In the BCEJ brief, JHU argues (at 5) that it cannot be liable for the Cartel’s acts before it

joined, and that Plaintiffs cannot pursue their claims against it because no named Plaintiff was or

is a student at JHU. These arguments fail.

        First, one who joins an existing conspiracy becomes as liable for its misconduct as the

existing members. See United States v. Bengis, 783 F.3d 407, 413 (2d Cir. 2015); United States v.

Cerrito, 413 F.2d 1270, 1272 (7th Cir. 1969). The new conspirator becomes a party to and respon-

sible for the other conspirators’ prior and subsequent acts. United States v. Hayes, 391 F.3d 958,

963 (8th Cir. 2004) (a person who knowingly, voluntarily and intentionally joins an existing con-

spiracy is responsible for all of the conduct of the co-conspirators from the beginning of the con-

spiracy); Hawk v. Perillo, 642 F. Supp. 380, 387 (N.D. Ill. 1986).



28
  BCE cite Tamayo v. Blagojevich, 526 F.3d 1074 (7th Cir. 2008), but the court held only that the plaintiff’s
deletion of certain facts from the original complaint did not save the amended complaint from dismissal
because both versions of the complaint failed to plead the requisite elements of the claim. Id. at 1083-92.


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        JHU wrongly argues (at 5) that to be held liable for the prior acts of the co-conspirators, it

would have had to have actual knowledge that those acts were unlawful and cites to Havoco of

America, Ltd. v. Shell Oil Co., 626 F.2d 549 (7th Cir. 1980). Havoco instead held that “a co-

conspirator who joins a conspiracy with knowledge of what has gone on before and with an intent

to pursue the same objectives may, in the antitrust context, be charged with the preceding acts of

its co-conspirators.” Id. at 554 (emphasis added). This standard concerns knowledge of what the

conspiracy was doing, not whether its acts were unlawful. Indeed, Havoco cites Industrial Building

Materials, Inc. v. Interchemical Corp., 437 F.2d 1336, 1343 (9th Cir. 1970), which held that the

plaintiff had the right to prove at trial the agreement by the late-comer to become part of the con-

spiracy and, if proven, that defendant would be retroactively liable for the damages flowing from

that conspiracy. Further, it is not essential for conspirators to have actual knowledge of the specific

acts or the unlawfulness of the acts of their co-conspirators. Sandoval-Curiel, 50 F.3d at 1392;

Ras, 713 F.2d at 314. In addition, Plaintiffs plausibly allege that JHU was aware of the Cartel and

its purposes and intended to pursue the same ends. AC ¶¶ 102, 193.

        Second, Plaintiffs are entitled to sue JHU, even if none of the named Plaintiffs are enrolled

at JHU, because the Cartel members are jointly and severally liable. This makes JHU liable to the

unnamed class members enrolled at JHU and to those enrolled at any of the Cartel members as of

class certification. See id. ¶ 220; see, e.g., Greene v. Will, 2013 WL 11233976, at *2 (N.D. Ind.

Apr. 16, 2013) (a class period defined “to the present date” ends on “the particular date the formal

class certification order is issued”). “Because antitrust liability is joint and several, a Plaintiff in-

jured by one Defendant as a result of the conspiracy has standing to represent a class of individuals

injured by any of the Defendant’s co-conspirators.” In re NASDAQ Mkt.-Makers Antitrust Litig.,

169 F.R.D. 493, 508 (S.D.N.Y. 1996); accord NEWBERG ON CLASS ACTIONS § 2:3 (2020).




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        JHU is also wrong to suggest (at 5) that Plaintiffs claim injuries arising solely out of aid

given to students during their first year. Plaintiffs seek damages for students who received financial

aid and paid tuition to any Defendant at any time during the relevant period. The class members’

injuries plausibly extend throughout their entire enrollment during which they receive financial

aid, as the CM was used to calculate the financial aid awards given to the students during each

year of their enrollment. See AC ¶ 266. In addition, two named Plaintiffs, Savannah Rose Eklund

and Alexander Leo-Guerra, are enrolled at and expect to graduate from Columbia and Duke, re-

spectively, in 2023. Id. ¶¶ 19, 21. These Plaintiffs may recover against JHU because the awards

they received, and will continue to receive since JHU joined, are suppressed as a result of the

conspiratorial acts for which JHU is jointly and severally liable.

        Third, where there is a common scheme subject to common proof, or a “juridical link,” the

named plaintiffs’ standing to sue all the defendants is an issue for class certification. Snyder v. U.S.

Bank N.A., 387 F. Supp. 3d 867, 873 (N.D. Ill. 2019) (Kennelly, J.); see also In re Opana ER

Antitrust Litig., 162 F. Supp. 3d 704, 722 (N.D. Ill. 2016) (analyzing whether the named plaintiffs

may assert the rights of absent class members under Rule 23). If certification is granted, the court

may then analyze standing against particular defendants. Snyder, 387 F. Supp. 3d at 873. With

respect to prospective certification, moreover, JHU has harmed all Class members who received

financial aid in 2021-22 and 2022-23, and thus is properly a defendant on that basis alone. Class

members who enrolled at JHU (or another Defendant) beginning in 2021-22 or 2022-23 do not

have interests at odds with other class members—and JHU does not argue that they do.29


29
   JHU cannot mean that the named Plaintiffs must be current students to seek damages; that would lead to
the absurd result that Defendants could avoid liability if the case were not resolved before the named Plain-
tiffs graduated. Even as to injunctive relief, “when the claim on the merits is capable of repetition, yet
evading review, the named plaintiff may litigate the class certification issue despite loss of his personal
stake in the outcome of the litigation.” Wacker Drive Exec. Suites, LLC v. Jones Lang LaSalle Ams. (Ill.),



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        C.       Yale’s Particular Arguments Are No Basis for Dismissal

        Yale argues in own brief (at 1-2) that because it stopped using the CM in 2008 or 2009,

and because Plaintiffs supposedly have not alleged that Yale resumed using the CM, Yale cannot

be liable for the damages the Cartel has caused. This is wrong on all counts.

        First, as a factual matter, although Yale claims it has not been using the CM, its prior public

statements are to the contrary, AC ¶¶ 123-24, as Plaintiffs repeatedly point out. Yale described the

CM as a “one needs-analysis formula that everyone has to sign on to.” Id. ¶ 124 (emphasis added).

The reasonable inferences are that Yale had used the CM, knew the Cartel’s purpose, and intended

to advance that purpose. In addition, Yale admits it has been in the Cartel since 2018, id. ¶¶ 123-

24, which means it continued to understand and advance the Cartel’s objectives. See also id. ¶¶

115, 128 (through their membership, all members of the 568 Group use the CM).30 At the very

least, the extent to which Yale continued to use the CM after 2018, and furthered the Cartel, are

issues for discovery.31

        Second, once a conspiracy is established, each member of the conspiracy is jointly and

severally liable for the acts of the other conspirators. Socony-Vacuum, 310 U.S. at 253-54; Marion




LP, 2019 WL 2270000, at *4 (N.D. Ill. May 28, 2019) (quotations omitted). If on class certification the
Court deems it necessary for a named Plaintiff to be enrolled at JHU, Plaintiffs would add such a plaintiff.
30
   Yale asserts Plaintiffs cannot allege its continuing use of the CM consistent with Rule 11, but Plaintiffs
allege Yale’s own words and actions. If Yale wants to claim a violation of that Rule, it has not followed
proper procedure; a threat in a brief is, of course, not part of that procedure.
31
  Yale (at 1-2) cites H.R. Rep. 114-224 (2015) for the proposition that Congress found that some members
of the 568 Group do not use the CM. This is wrong. There is nothing in the Committee Report that supports
this statement, which Yale’s own public statement contradicts. Indeed, there is no reference to any congres-
sional fact-finding or investigation that led to any of the statements, on page 3 of the Report, that Yale cites;
and nowhere in that Report is any statement that members of the 568 Group do not use a common formula.
This contrasts with Plaintiffs’ detailed allegations that all members of the Cartel have been using the CM.
See, e.g., AC ¶¶ 5-7, 115-18, 126-29. This is another issue for discovery.


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Healthcare, LLC v. Becton Dickinson & Co., 952 F.3d 832, 839 (7th Cir. 2020). Yale has acknowl-

edged it has been a member of the Cartel since at least 2018. Inasmuch as the other Defendants

have used the CM and engaged in other conspiratorial acts, which damaged the Plaintiffs, their

acts are attributable to all conspirators, including Yale. See United States v. Newman, 755 F.3d

543, 545 (7th Cir. 2014); United States v. Read, 658 F.2d 1225, 1230 (7th Cir. 1981).

       This liability would attach, moreover, even if Yale did not actively use the CM. See Smith,

568 U.S. at 114 (defendant’s responsibility for acts of conspiracy endure even if he is inactive after

joining it). Moreover, the Cartel’s conspiracy is far broader than use of the CM and includes: a

“data-exchange program” and agreement to share information about admissions; the sharing of

competitively sensitive information about enrollment, cost, and other data relating to Defendants’

available resources for financial aid; imposing a common calendar for collecting data from fami-

lies; compliance enforcement; and attendance at semi-annual meetings. AC ¶¶ 117-18, 121. Yale

thereby helped the other Cartel members develop, refine, use, and enforce the CM. Thus, even if

(contrary to Plaintiffs’ allegations) Yale did not itself implement the CM on its own applicants,

Yale would be just as culpable for its participation in the Cartel’s other activities. Yale’s “acqui-

escence in an illegal scheme is as much a violation of the Sherman Act as the creation and promo-

tion of one.” Paramount, 334 U.S. at 161; Moehrl, 492 F. Supp. 3d at 780 (collecting cases). Yale’s

alleged deviations from the agreement to use the CM would not make it any less of an unlawful

agreement. Nationwide Trailer, 156 F. Supp. at 804. And this would be true even if Yale had

formally withdrawn from the conspiracy in 2009, which Yale does not contend happened, and then

rejoined in 2018. See, e.g., United States v. Morales, 655 F.3d 608, 640-41 (7th Cir. 2011) (de-

fendant had not fully withdrawn from the conspiracy, either because the initial withdrawal was not

effective or, even if it were, the defendant subsequently rejoined the conspiracy).




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VI.    PLAINTIFFS’ CLAIMS ARE TIMELY

       The statute of limitations does not bar any of Plaintiffs’ claims. “Dismissing a complaint

as untimely at the pleading stage is an unusual step, since a complaint need not anticipate and

overcome affirmative defenses, such as the statute of limitations.” Sidney Hillman Health Ctr. of

Rochester v. Abbott Labs., Inc., 782 F.3d 922, 928 (7th Cir. 2015). “As long as there is a conceiv-

able set of facts, consistent with the complaint, that would defeat a statute-of-limitations defense,

questions of timeliness are left for summary judgment (or ultimately trial).” Id. The “face of the

complaint” would have to establish that it is hopelessly time-barred.” In re Broiler Chicken Anti-

trust Litig., 290 F. Supp. 3d 772, 806 (N.D. Ill. 2017) (quoting Cancer Found., Inc. v. Cerberus

Capital Mgmt., LP, 559 F.3d 671, 674 (7th Cir. 2009)) (alterations omitted). Plaintiffs do not allege

any facts making Plaintiffs’ claims time-barred, let alone “hopelessly.”

       A.      The Discovery Rule Applies

       The discovery rule applies here. See In re Copper Antitrust Litig., 436 F.3d 782, 789 (7th

Cir. 2006). In citing Rotkiske v. Klemm, 140 S. Ct. 355 (2019), and Gabelli v. SEC, 568 U.S. 442

(2013), to argue against the discovery rule under the Sherman Act, Defendants cite materially

different statutes with materially different language. Rotkiske addressed the FDCPA’s limitations

statute, which is keyed off the “date on which the violation occurs.” 140 S. Ct. at 358 (quoting 15

U.S.C. § 1692k(d)). The decision “is not applicable” to limitations statutes, like the Sherman Act,

keyed off the date the claim “accrued.” Navarro v. Procter & Gamble Co., 515 F. Supp. 3d 718,

759-60 (S.D. Ohio 2021); accord Sohm v. Scholastic Inc., 959 F.3d 39, 50 n.2 (2d Cir. 2020);

Menzel v. Scholastic, Inc., 2020 WL 1308346, at *1 (N.D. Cal. Jan. 17, 2020). Gabelli, in contrast

to Copper, addressed whether the government could invoke the discovery rule in SEC enforcement

actions; the Court concluded there were “good reasons why the fraud discovery rule has not been

extended to Government enforcement actions for civil penalties.” 568 U.S. at 449-51. Accordingly,


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neither Rotkiske nor Gabelli “abrogates” Copper. Instead, citing Copper, the courts in this Circuit

continue to apply the discovery rule in antitrust cases, including after Rotkiske was decided.32

        Defendants cite (at 37) Zenith Radio Corp. v. Hazeltine Research, Inc., 401 U.S. 321, 338

(1971), for the proposition that “when a defendant commits an act that injure a plaintiff.” The

Seventh Circuit has expressly held, however, that under the discovery rule, Zenith does not apply

to injuries that the plaintiffs later discovered. See In re Sulfuric Acid Antitrust Litig., 703 F.3d

1004, 1014 (7th Cir. 2012). The plaintiff in Zenith, moreover, suffered no provable injury at the

time of the defendants’ conduct, and the court deemed future damages to be too speculative. See

401 U.S. at 338. Zenith does not apply here, where Plaintiffs allege they suffered injuries simulta-

neously with Defendants’ conduct, and where those injuries were unknown to reasonably diligent

Plaintiffs until two years (at most) prior to the filing of this lawsuit.

        B.      Plaintiffs’ Claims Are Timely Under the Discovery Rule

        Under the discovery rule, “a plaintiff’s claim accrues not when the conduct or injury oc-

curs, but when the plaintiff, through the exercise of due diligence, discovers that he has been in-

jured and who has caused the injury.” In re Sulfuric Acid Antitrust Litig., 743 F. Supp. 2d 827, 854

(N.D. Ill. 2010) (emphasis in original). Defendants have the burden to “conclusively establish that

a prudent plaintiff would have discovered” their claims more than four years ago. Dennis v. An-

dersons Inc., 2021 WL 3403528, at *6 (N.D. Ill. July 9, 2021). On a motion to dismiss, the “‘right

question’ is not whether the plaintiff has alleged ‘facts that tend to defeat affirmative defenses,’

but ‘whether it is possible to imagine proof of the critical facts consistent with the allegations in




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   See, e.g., TCS John Huxley Am., Inc. v. Sci. Games Corp., 2021 WL 4264403, at *3 (N.D. Ill. Sept. 20,
2021); FTC v. Credit Bureau Ctr., LLC, 284 F. Supp. 3d 907, 909 (N.D. Ill. 2018); In re Evanston Nw.
Healthcare Corp. Antitrust Litig., 2016 WL 4720014, at *7 (N.D. Ill. Sept. 9, 2016); Shuffle Tech Int’l, LLC
v. Sci. Games Corp., 2015 WL 5934834, at *13 (N.D. Ill. Oct. 12, 2015) (Kennelly, J.).


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the complaint’ that would fall within the period of limitations.” Broiler Chicken, 290 F. Supp. 3d

at 806 (quoting U.S. Gypsum Co. v. Ind. Gas Co., 350 F.3d 623, 628 (7th Cir. 2003)).

       Plaintiffs plausibly allege they did not discover their injury until two years before the Com-

plaint, and a person exercising reasonable diligence would not have discovered the injury any

earlier. AC ¶¶ 195-96. These allegations are taken as true at this stage. See Clark v. City of Braid-

wood, 318 F.3d 764, 767-68 (7th Cir. 2003); Bloyer v. St. Clair Cnty. Ill., 2016 WL 6804471, at

*2 (S.D. Ill. Nov. 17, 2016). And where public information requires a plaintiff to draw conclusions

or inferences before plaintiff can “discover” its injury, it is a question of fact whether this would

have been possible. Broiler Chicken, 290 F. Supp. 3d at 807-08. Defendants cannot evade this rule,

which they decline even to acknowledge, by citing various public statements from their represent-

atives and information from trade publications. The courts do not charge plaintiffs with knowledge

of this kind of information. See id. at 808 (executives’ public statements insufficient); Sulfuric

Acid, 743 F. Supp. 2d at 856 (industry publications insufficient); cf. Fond du Lac Bumper Exch.,

Inc. v. Jui Li Enter. Co., 85 F. Supp. 3d 1007, 1011 (E.D. Wis. 2015) (“Information in the public

domain, however, does not necessarily put a plaintiff on constructive notice of its injuries.”).

       In citing such sources, moreover, Defendants have not established as a matter of law that

a reasonably diligent person should have known of the injury here. Compare Broiler Chicken, 290

F. Supp. 3d at 808 (defendants did “not convincingly argue that any one piece of Plaintiffs’ alle-

gations would have sufficiently alerted them to a potential conspiracy”) with Tomlinson v. Gold-

man, Sachs & Co., 682 F. Supp. 2d 845, 847 (N.D. Ill. 2009) (SEC had issued Wells notice and

defendant had publicly addressed allegations). Given the complexity of financial aid, AC ¶ 197, it

is more than plausible a reasonably diligent person did not discover her injury until “much later”




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than it occurred. See Evanston, 2016 WL 4720014, at *9-10 (discovery of overcharge was “prob-

ably much later” than when it occurred, where defendant touted benefits of merger and market was

“particularly complex”). The question of how much later is “for a juror to decide.” Sulfuric Acid,

743 F. Supp. 2d at 856; see Sci. Games, 2021 WL 4264403, at *4-5 (concluding that the “current,

disputed record” precludes summary judgment on discovery of “antitrust injury”).

       In this case, discovery of the injury the Cartel caused would require a person to fit together

multiple pieces of information like a jigsaw puzzle. Without understanding the CM and the back-

drop of the Cartel’s history, as well as the universities’ sources for providing financial aid, as well

as the “considerable inquiry into market conditions” that can be required to determine whether

even per se unlawful conduct has caused injury, NCAA, 468 U.S. at 104 n.26, a reasonably diligent

person would not understand the Cartel is engaged in price fixing, including through price floors,

and thereby artificially inflating net tuition prices. The “puzzle pieces” include not only the requi-

site knowledge of market conditions, but also the knowledge that (1) Defendants were coordinating

on a financial-aid formula restricting their individual judgment; (2) the coordination raised net

prices for financial-aid students; (3) the collusion did not merely redistribute a fixed pool of aid

from one group of students to another, but instead suppressed the total aid dollars available to

students; and (4) it was not other economic factors that caused such injury.

       A reasonably diligent person could not have discovered the injury until they were able to

combine these puzzle pieces to conclude that Defendants’ use of the CM harmed Class members,

AC ¶¶ 195-96, and to have some basis to disagree with Defendants’ public representations that

their conspiracy has helped students and that other factors caused the net price of attendance to

rise, id. ¶¶ 199-219. Indeed, Defendants (at 24) cite the 2006 GAO Report for the proposition that




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the conspiracy “did not adversely impact the affordability of colleges and universities.” Defend-

ants offer no explanation why a reasonably diligent person would have disagreed with this conclu-

sion; such a person would not even have understood the report’s flaws. Cf. Copper, 436 F.3d at

789-90 (reversing where the district court “never explained what facts the plaintiffs’ diligent in-

quiries would have revealed”). The 2006 GAO Report is wrong, see Part IV.B.1, above, but even

as to a reasonably diligent person who knew of its existence, nothing about the report or the facts

it analyzed meant that such person would or should have known its conclusions were wrong.33

Given these “factual issues,” that Plaintiffs have alleged facts bearing on the discovery rule is no

basis for resolving the affirmative defense of untimeliness on a motion to dismiss. Johnson-Morris

v. Santander Consumer USA, Inc., 194 F. Supp. 3d 757, 763 (N.D. Ill. 2016).

        The “puzzle” that plaintiffs would have had to put together here is analogous to the facts

in Broiler Chicken, where defendants pointed to multiple pieces of public information but failed

to “convincingly argue that any one piece of Plaintiffs’ allegations would have sufficiently alerted

them to a potential conspiracy.” 290 F. Supp. 3d at 808; see also In re Packaged Seafood Prod.

Antitrust Litig., 242 F. Supp. 3d 1033, 1099 (S.D. Cal. 2017) (quoted by Broiler Chicken and

explaining that “a lone puzzle piece may, in isolation, give no further indication as to the larger

picture into which it fits, and yet at the same time be an integral component of the final product

once all corresponding pieces are assembled”). Broiler Chicken itself similarly noted that while it

“may be true that it was possible for Plaintiffs to have discovered” publicly available information


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   Indeed, Defendants (at 37-38) cite Tomlinson, 682 F. Supp. 2d 845, a case in which government investi-
gations and allegations of wrongdoing were made public, putting plaintiffs on notice of their injuries, and
in which defendants’ market manipulation influenced the market beyond the traditional market forces at
play. Id. at 846. Moreover, while plaintiffs in Tomlinson argued that, despite knowledge of injury, they did
not have the necessary information for each element of their claim. Here, the opposite situation exists,
because discovery of the injury—that Plaintiffs paid artificially inflated net prices of attendance at one of
the Cartel universities, AC ¶ 235—would require a plaintiff to fit together multiple pieces of information
like a jigsaw puzzle to know of the injury.


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when it was published, the Court has been “unwilling to hold that Plaintiffs should be charged with

a level of diligence requiring them to follow [public statements] such that they were immediately

aware of these statements.” 290 F.3d at 808.

       C.      Plaintiffs Allege Continuing Violations

       Defendants are also wrong in arguing (at 38-39) that the continuing-violations doctrine

does not apply. Plaintiffs Maerlender, Carbone, Corzo, and Saffrin enrolled at Defendant univer-

sities prior to, but continuing into, the four-year period preceding this litigation; each of them

received need-based financial aid every year. See AC ¶¶ 17-18, 22, 24. Plaintiffs Eklund and Leo-

Guerra are currently enrolled students. Id. ¶¶ 19, 21. Defendants suggest the continuing-violation

doctrine could apply only to Maerlender’s claim, but there is no basis to conclude it would not

apply to Carbone, Corzo, and Saffrin, when the relevant graduate dates were in spring 2018. See

id. ¶¶ 17-18, 24. The Supreme Court has identified “each sale to the plaintiff” pursuant to a “price-

fixing conspiracy” as an “overt act” that “starts the statutory period running again.” Klehr v. A.O.

Smith Corp., 521 U.S. 179, 189 (1997); see also Turner v. McDonald’s USA, LLC, 2020 WL

3044086, at *4 (N.D. Ill. Apr. 24, 2020) (holding that “each time plaintiff was paid a depressed

wage for her labor” as a result of horizontal conspiracy, “she was injured and the four-year statute

of limitations for that injury began”). Defendants’ out-of-circuit precedent, Varner v. Peterson

Farms, 371 F.3d 1011, 1019 (8th Cir. 2004), has no application in the price-fixing context. See In

re Pre-Filled Propane Tank Antitrust Litig., 860 F.3d 1059, 1067 (8th Cir. 2017) (en banc) (dis-

tinguishing Varner as “about a tying arrangement, not a price-fixing conspiracy that brings about

a series of unlawfully high priced sales over a period of years”) (quotations omitted).

                                         CONCLUSION

       For the foregoing reasons, the Court should deny Defendants’ motions to dismiss.




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 /s/ Robert D. Gilbert                     /s/ Kyle W. Roche
 Robert D. Gilbert                         Kyle W. Roche
 Elpidio Villarreal                        Edward Normand
 GILBERT LITIGATORS & COUNSE-              Peter Bach-y-Rita
 LORS, P.C.                                ROCHE FREEDMAN LLP
 11 Broadway, Suite 615                    99 Park Avenue, 19th Floor
 New York, NY 10004                        New York, NY 10016
 Phone: 646-448-5269                       Phone: (646) 350-0527
 rgilbert@gilbertlitigators.com            kyle@rochefreedman.com
 pdvillarreal@gilbertlitigators.com        tnormand@rochefreedman.com
                                           pbachyrita@rochefreedman.com

 /s/ Eric L. Cramer                        /s/ Elizabeth A. Fegan
 Eric L. Cramer                            Elizabeth A. Fegan
 Caitlin Coslett                           FEGAN SCOTT LLC
 Hope Brinn                                150 S. Wacker Dr., 24th floor
 BERGER MONTAGUE PC                        Chicago, IL 60606
 1818 Market Street, Suite 3600            Phone: (312) 741-1019
 Philadelphia, PA 19103                    beth@feganscott.com
 Phone: (215) 875-3000
 ecramer@bm.net
 ccoslett@bm.net
 hbrinn@bm.net

 Robert E. Litan
 Daniel J. Walker
 BERGER MONTAGUE PC
 2001 Pennsylvania Avenue, NW
 Suite 300
 Washington, DC 20006
 Phone: (202) 559-9745
 rlitan@bm.net
 dwalker@bm.net




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